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12.5 CLA||V|S BY THE CONTRACTOF\

12.5.1 The Contractor shall make no demand for liquidated
damages for delay in any sum in excess of such amount as may be
specifically named in this Subcontract, and liquidated damages
shall be assessed against this Subcontraotor only for his negligent
acts and his failure to act in accordance with the terms of this
Agrcemant. and ln no case for delays or causes arising outside the
scope of this Subcontrect. or ior which other subcontractors are
responsible

12.5.2 Ertoept es may be indicated in th|s Agreemeni. the
Contractor agrees that no claim for payment for services rendered
or materials and equipment furnished by tire Corrtractor to the
Subcontractor shall be valid without prior notice to the
Subccntractor and unless written notice thereof is given by the
Contractor to the Subcontractor not later than the tenth day cf the
calendar month following that in which the claim originated

12.6 CONTRACTOH'S RE|VlEDlES

12.6.1 lt the Subconiractor defaults or neglects to carry out the
Work in accordance with this ngreement and falls within two lai
working days after receipt ot written notice from the Contraotor lo
comm enos end continue correction of such default or neglect with
diligence and promptness. the Contractor may, sher two days
following receipt by the Subcontractor of an additional written
notice, and without prejudice to any other remedy he may have
make good such deficiencies and may deduct the cost thereof from
the payments then or thereafter due the Subcontrector. provided
however, that if such action is based upon faulty workmanship or
materials end equipmentl the Archifect shall first have determined
that the workmanship or materials and equipment are not irr
accordance with lite Contract Documents.

12.5.2 Subcontraotor agrees to keep the Proiect and the ground
appurtenant lhereto. free of liens for or orr account ot any work
done or materials furnished in connection with the Subcentrector'e
work under this AGREEMENT, in the event that a lien is made or
claimed against the Prolect relating to Subcorrtraclor‘s scope of
work from any of the subcontractors material suppliers or sub-
suboontractors, the Subcontractor wiil, within live {5} days after
written notice from the Owner or TEXAS DESCON. L.P. discharge
the lien by any legal process as may be necessary. including the
posting of a bond to discharge the lien. in the event that
Bubcorrtraclor so fails lo discharge any lien and TEXAS DESCON,
L.F. opte to intervene to arrange for discharge of said lienl
Bubcontrector agrees to pay TEXAS DESCON, l_.P. tso% of tha
amount ol the lien and to pay TEXAS DESCON, L.P.'e and
Owner's reasonable attorneys' fees and costs incurred in
connection with said discharge

12.5.3 ll the Subcontractor iii refuses or falls to supply a sufficient
number ot properly skilled workers. or materials or equipment of lite
proper quality and quantily. ill} fails or refuses to prosecute lite
Work with promptness and diligence in order to maintain the
schedule for the Work established by Contracior las said schedule
may be revised end amended by Contractor from lime to time}. {lil)
tells or refuses to metro prompt payment to its workere,
subcontractors or suppliersl or ls otherwise unable to meet its debts
as they mature, (iv) disregards lews. ordinances rulce. regulations
or orders of Contractor, Owner or any public authority having
]urlsdiction over the Work, (v] causes any stoppage ot or
interference with the Work of Gontractor cr any other
subcontractors or [vi) otherwise breaches any material provision
under this Subcontraot, and thereafter Subcontrector falls or
refuses to cure such default within 48 hours (or such longer period
of time as may be granted by Contractor in its sole discretion) after
receipt of written notice from Contractor, then Contractor, without
preludioe to any other rights er remedies, shall have the right to any
or all of the following remodics:

a. supply such number of workers and quantity and quality ot
materials equipment and other facilities as Contrector deems
necessary for the completion cf ihs Subcontreotor's Work, or
any part thereof which the Subconirector has failed to complete

 

or perform after the aforesaid notice and charge the cost thereof
to the Subcontraotor, who shall be liable for the payment of the
same, including reasonable overhead, prot|t, court costs and
ettorneys' and paralega|s' tees;

b provide for the completion of all the Sub'contractor”s Work by
others and charge the costs thereof to the Suboonlractor;

c. withhold payment of any monies due to Sobcontractor under this
Subcontract or any other agreement between Subcontractor and
Corttractor pending corrective or curative action to the extent
required by and to the satisfaction of Oontraclor; and

d. |n the event of an emergency effecting the safely ot persons or
property, Contractor may proceed as above without notice to
Subcontractor.

12.6.4 in addition to the above-noted remedies, if Subcontractor
fails to cure any default within the above-noted time periodl then
Corttractor may, in l|eu, or in addition to the remedies noted above,
terminate Subcontrector‘s employment under this Subcontract by
delivering written notice cf termination to Subcontractor. Thereafter.
Ccnirector may take possession of the plant and Work, materlaie,
tools. appliances and equipment of Suboontrector at the building
elte, and through himself or ctl‘rers. provide labor. equipment and
materials to prosecute Subcontractor's Work on such terms and
conditions as Contractor may deem appropriate and Contractor
shall deduct the cost thereof. including all charges, expenses
|ossee, costs. damages end attorneys' and paralegais'. feee,
incurred by Contractor as a result of Subcontractor‘s failure to
perlorm, from any money then due or thereafter become due
Subcontractor either under this Subcontract or under any other
agreement between Subcontrector end Conlractor. The
Suboontractor shall be liable for the payment of any amount by
which such costs may exceed the unpaid balance of the Suboontract
Prlce. The Contractor may use any meteriels. implements
equipment, appliances or tools furnished by or belonging to the
Subcontraolor to compiete the Subcontractcr‘s Work. The
Subcontraotor hereby agrees that` upon such termination of its
empioyment, the Subcontroctor automatically shall offer an
assignment to the Contractor cl any oral subcontracts end purchase
crders, which the Suboontractor previously entered into. ior the
Contraclor's sole discretionary acceptance

12.6.5 Notwithstandlng anything ln this Subconlract to the
contrary, any default by Suboentractor under this Subcontract may,
at TEXAS DESCON‘ i-.P.'s sole option, be deemed to be a default
by Subccnlractor under any other agreements between Contractcr
and Suboontraotor, end any default by Subcontractor under any
other agreements between Ccntractcr and Subocntractor may. al
TEXAS DESCON, L.P.’s sole option, be deemed to be a default by
Subcontractor under this Suboontract. in any event of defaull,
whether under this Agroement or any other agreement between
Contractor and Subcontractor. Contractor shall have the right of
offset against any sums otherwise due Subcontrector under this
Agreement or any other agreement between Contractor and
Subcontracfor.

12.6.5 TEXAS DESCON. bP. may terminate this Agreemenl
without cause, in whole or in pari at any time upon len f'lO} days
notice thereof to the Subcontractor. Any provisions of this
Agresment whichl by their nature, would survive final acceptance ot
the work shall remain in full force and eftoci arter the ien'nlnatiort to
the extent provided in such provisions Upon such tenninal|on, any
obligations to the Subconfractor shall continue as to portions of the
work already performed prior to the date ct termination Upon such
termination. TEXAS DESCON. L.P. shall reimburse Bubccntrsotor
for any approved but unpaid portions ct the work incurred by the
Subc:oniractor. together with any withheld retainage to the date of
termination Howavor, no such payment will be made to the
Suboontractor until TEXAS DESCON, L.P. is paid by the Owner for
the said portions ot the Subcontractor‘s work.

A|A DOCUMENT A40`l - CONTRACTOR-SUBCONTRACTOH AGF\EEMENT - ELEVENTH ED|T|ON -APFt|L 1978 - AlA

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ART[CLE 13
ARB|TF|AT|ON

13.1 Aii claims. disputes and other matters in question arising out
oi. or relating to` this Subcontract. or the breach thereot. shall he
decided by arbitration, which shall be conducted in the same
manner arld under the same procedure as provided in the Conlraot
Documents with respect to disputes between the Owner end the
Contractor, except that a decision by the Architect shell not be a
condition precedent to arbitrationv ii the Contrect Documents do not
provide ior arbitration or tall to specliy the manner and procedure
for arbitration it shall be conducted in accordance with the
Construct|on industry Arbltration Fluies of the Amerlcan Arblirat|on
Assoclatlon then obtaining unless the parties mutually agree
otherwise

13.2 Except by written consent oi the person or entity sought to be
]cinad, no arbitration arising out oi or relating to the Ccntract
Documents Shal| |nciur.ie, by consol|r.tatlr.inl joinder or in any other
manner. any person or entity not a party to the Agreement under
which such arbitration arlses. unless lt is shown at the time the
demand for arbitration is filed that (1) such person or entity is
substantially involved in a common question oi fact or law, (2) the
presence of such person or entity is required ii complete relief is to
be accorded in the arbitrationl (Bl the interest or responsibility of
such person or entity in the matter is not ineubstantiai, and bit such
person or entity is not the Arohitect, his employee or his consultant
This agreement to arbitrate and any other written agreement to
arbitrate with en additional person or persons referred to herein
shall be specifically enforceable under the prevailing efolt`rel|on iaw.

13.3 The Contractor shall permit the Subcontreotor to be present
and to submit evidence in any arbitration proceeding involving his
rights

13.4 The Contractor shall permit the Subcontractor to exercise

whatever rights the Contractor may have under the Contract
Documents in the choice of arbitrators in any dispute, if the sole
cause ot the dispute is the Work, materialsl equipment rights or
responsibilities oi the Suhcontractor; or ii the dispute involves the
Subcontrac:tor and any other subcontractor or subcontractors
ioint|y. the Contractor shall permit them to exercise such rights

loint|y.

 

13.5 The award rendered by the arbitrators shall be flnal. and
judgment may be entered upon it in accordance with applicable law
in any court having jurisdiction thereof.

13.6 This Artlcle shall not be deemed a limitation of any rights or
remedies which the Subcontractor may have under any Federa| or
State mechanics' lien laws or under any applicable labor and
material payment bonds unless such rights or remedies are
expressly waived by him.

AR l |QL,E 14
TEFiIVl|NAT|ON

14.1 TERM|NAT|ON BY THE SUBCONTRACTOR

14.1.1 if the Work is stopped for a period of thirty days through no
fault of the Subcontractor because the Contractor has not made
payments thereon as provided in this Agreement then the
Suboontractor may without prejudice to any other remedy he may
have, upon seven additional days' written notice to the Conirectur,
terminate this Subcontraot and recover from the Contractor payment
for ali Work executed and for any proven loss resulting from the
stoppage of the Work, including reasonable overhead, prolit and
damages

14.2 TEHM|NATION BY THE CONTFlACTOR
SEE EXH|B|T SEVEN ATTACHED.

 

ART|CLE 15

li/||SCELLANEOUS PROV|S|ONS

15.1 Terms used in this Agreement which are defined in the Condit|ons of the Contract shall have the meanings designated in those
Condltlons.

15.2 The Contraot Documents, which constitute the entire Agree

are enumerated as io|lowa:
(Lisi below ina Agreement the Com:ii`ifcns of rita Contracl [General, S|lppiemantary, and other Conrtldons,l, the l" ’ _, , the ,
Al'iomatcs, showing page brenner numbers in stresses and dates where applicable Conilnus en commonly pages as require

‘ ,s,endanyA“" “ and ,_'

SEE EXH|B|T ElGHT ATTACHED

SUBCONTRACTOR:
VCl Bu||ders/%

" f

This Agreement entered into as of the day and year first written above.

CON l`I_Z,AQTOR:

TEXAS DESCON, L.P.
/
Mi$h&t“ll D. SH'l"h,/Fii'B&del"tt
Date: {/{ ¢'?79/%/

 

   
 

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merit between the Owner and the Contractor, are listed in Artlcle 1, and the
documents which ere applicable to this Subcontract. except for Addenda and Nlodlfications issued alter execution oi this Subcontrecl,

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 3 of 85

EXH/BlT ONE

3.4

The subcontractor shall provide delivery dates for materials related to the scope of the Work

covered under this contract from all applicable suppliers and vendors. This information is

required in a Written confirmation format five (5) days after submittal is approved by the
architect Any deviation from the dates provided by the subcontractor shall require ample

notice to the general contractor so that the subcontractor will not be held liable under the

provisions ofArtlcle Three of this subcontract

 

 

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EXHIBIT FOUR

lt is agreed that TEXAS DESCON, L.P., the General Contractor for the 026 PSJA T-Stem
Earlg College High School Additfons and Henovations. Pharr, nech project shall
withhold from VCl Bullders, the subcontractor, any insurance premiums deemed necessary
should the Sub~Contractor not provide Genera/ Liablllty and/or Worl<er's Compensation

 

insurance or should said insurance policies expire during the term of the contract as set
forth in Article 9, Section 9.2 of said contract for the period of the expiration of said policies

 

Acknovvledged and agreed to this 2‘_/ d day of .3;;_4;..?/ .201,.

 
  
 
 

VCI Builders

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EXHIBIT FIVE

 

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;NSURED
Subcontractor's Name, Address, City, St, Zip

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Lessees, or Contvactors‘Automatic $tatus when required in a Construction Contract Agreement with you,
wii] be named with a Waiver of Subrogation for CGL.
Subcontractors poiicy wi11 be deemed as Primary and Non-Contributory with regard to Texas Descon L.P.
Canceiiation provisions aiiow 30 day prenotification to certificatehoider-.

Insured using CGZO33-Additiona1 Insured-Owners,

Commercia1 Auto Coverage and workers Compensation.

 

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CANCEL!..AT!OH

 

Tex-as Des<:on L.P.
PO 80)< 3547
McA`l'|en, TX 78502

SHDULD ANY OF'IHE ABOVE DESCR|BED PO|_|C|ES BE CANCELLED EEFORETHE

EXP|RAT|ON DATE THEREOF, THE lSSU\NG |NSURER WILL ENDEAVOR T0 MA\L

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EXHIBIT SIX
1 1. 11 INDEMNIFICA TION

11.11.1 To the fullest extent permitted by law, the Subcontractor shall indemnify and hold
harmless the Owner, the Architect and the Contractor and all of their agents and employees
from and against all claims, damages, losses and expenses, including but not limited to
attorney's fees, arising out of or resulting from the performance of the Subcontractor's Work
under this Subcontract, provided that any such claim, damage, Ioss, or expense is attributable
to bodily lnjury, sickness, disease, or death, or to injury to or destruction of tangible property
(0ther than the Work itself) including the loss of use resulting therefrom, to the extent caused in
whole or in part by any negligent act or omission of the Subcontractor or anyone directly or
indirectly employed by him or anyone for whose acts he may be llable, regardless of whether it
is caused in part by a party indemnified hereunder. Such obligation shall not be construed to
negate, or abridge, or otherwise reduce any other right or obligation of indemnity which would
otherwise exist as to any party or person described in this Paragraph 11.11. The indemnity
app/les to any claims or causes of action arising in tort or contract. Further, the parties agree
that this Indemnification obligation meets the requirements of the express negligence doctrine
as set forth In the Texas Supreme Court case of Ethyl Corp. v. Daniel Const. Co., 725 S.W. 2d
705 (Tex. 1987) and the conspicuousness doctrine as set forth in Dresser lndustries, lnc. v. Page
Petroleum, lnc. 853 S.W.2d 505 (Tex. 1993).

11.11.2 ln any and all claims against the Owner, the Architect, or the Contractor or any of
their agents or employees by any employee of the Subcontractor, anyone directly or indirectly
employed by him or anyone for whose acts he may be liable, the indemnification obligation
under this Paragraph 11.11 shall not be limited in any way by any limitation on the amount or
type of damages, compensation or benefits payable by or for the Subcontracth under Workers'
or workmen’s compensation acts, disability benefit acts or other employee benefit acts.

11.11.3 The obligations of the Subcontractor under this paragraph 11.11 shall not extend to
the liability of the Architect, his agents or employees arising out of (1) the preparation or
approval of maps, drawings, oplnions, reports, surveys, Change Orders, designs or
specifications, or (2) the giving of or the failure to give directions or instructions by the
Architect, his agents or employees provided such giving or failure to give is the primary cause

of the injury or damage.

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14.2 TEHMINA TION BY THE CONTRACTOR

14.2.1 lf the subcontractor fails or neglects to carry out the work in accordance with the contract
documents or otherwise to perform in accordance with this agreement and fails within forty-eight (48)
hours after receipt of written notice to commence correction of such default or neglect with diligence and
promptness, the contractor may without any additional written notice and without prejudice to any other
remedy he may have, terminate the subcontract and finish the work by whatever method he may deem
expedient /f the unpaid balance of the contract sum exceeds the expense of finishing the work, such
excess shall be paid to the subcontractor, but if such expense exceeds such unpaid balance, the

subcontractor shall pay the difference to the contractor

 

 

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EXH|BIT EIGHT
PROJECT SPECIF|CATIONSl PLANS AND ADDENDA

EEG\F\GATrONs:

The Specilicetions are those contained tire Pro}eot Nianus| entitled "PSJA iSD T-Stem Eariy Coiiege High Schooi (O|d Memorial Middie
Schooi) » Pnaee i Fteno\rations and Ad:|itions. dated Mi:rrch 01, 2010, and are as follower

PSJA iSD T-STEM EAF\LY CC|LLGE H|GH SCHDOL
{O|d |'iilemor|a| liiiiddle Scnm:r|)
PHASE |- RENDVAT¢ONS & ADD|T|ONS
l-"FlOJECT Nurnbers 0000’? v PSJA |SD CSP 1109-10-000
Pharr. Texas

VOLUN|E l
Pro]ect intormation, Architecturai and Structural Divlslons

SECT|ON 00 0111
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00 0110 - TAB|.E OF CONTENTS
00 0115 - LiST OF DHAW|NGS
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2 Statement ot inclusion t Appiicabiiity
3 Genera|
4. ContractTime Perlod
5. Addendum
6 Speciflcatit)ns
7 Bld Evaiuat|on and Award
8 Quantities
9. Packag|ng
10. Pric|ng
11. Sales Tax
12. Deiivery and Transportation
13. Quaiity
14. Product inspection, Testing and Deiectlve items
15. Samp|es
16. Warrantles
17. Withdrawa| or Mod|licat|on of Bid
18. Substitutions
19. Deviations from item Specitication or Genera|
Terms and Conditions
20. Contract and Purchese Orders
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and Termination ot Contract
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25. Assignrnent - Deiegation
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Olhet Matlers
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33. Waiver
34. interpretation - Paro|e Ev|cience
35. Flight to Assurance
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37. F*roposal Acceptance
38. insurance Flequirements
39. installation (When applicabie)
40. inquiries and interpretations
41. Evaiuatien Factors and Crlteria
PSJA iSD FOHNiS

 

B. Forme Chec|riist [Ai| Flei‘erenced Forrns must be S!gnecl
and Submllted with Bid l Frnposai or Bici i Proposa! will be
considered Non-Flesp'cnsl\.ra)

1. Form A: Ndiitication lo invitation to Bicl

2. Form B‘. DEviatlonsiComp|iance signature

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Ste\temenl

Form D: Anti-Co|lusloni B|d noknowledgement

Form E: Conillct di interest Qunstionnaire

Form F: Suepension or Debarment

Form G: |-iistor|cai|y Unclerutiiized Businass

(HUB)

B. Form H: Texas Faml|y Code Certitication

9. Form i : Deaiersh|ps l_isling

10. Form J: Cru| di State Certiilcations Page

11. Form K: i\io Bid l No Proposa| Flep|y Form

12. Form L: instruction to Schooi Dislricl
Contractors

13. Form iV|: Direct Deposti Form

14, Form N: Vendor Aeknuwiedgement

00 3000 - AVA!LABLE F'ROJECT iNFUFlMATiON

Geoiechnica| investigation Fleport

00 5200 - AGREEMENT FOHM - AiA DOGUMENT A101
- STANDARD FOHM OF AGHEEMENT BETWEEN
OWNEF\ & CONTRACTOF\

00 7200 - GENEFU\L CONDiT|ONS - AiA A201 -
GI:NEFiAL COND|T|ONS Oi= CDNTHACT FOFl
CONSTRUCT|ON

00 8200 - WAGE RATES

DlVlSlON 1- GENERAL HEQUIREMENTS

NOTE: FiEFFiEt~lCE PROJEGT MANUAL VOLUME ill
FOR TECHN|CAL SPEG|FlOAT|ON iNDEX FOH
ASEESTOS ABATEMENT SPEC|FACAT|ONS
PHOVlDED BY EN\iiOFiTEST LTD iPS.iA iSD
PHOV|DED CONSULTANT AND SFECiFiCATiONS}

01 1000 ~ SUMMAF|Y

01 2000 - PR|CE AND PAYMENT PROCEDURES

01 2100 - ALLOWANCES

01 2200 ~ UN|T PFl|CES

01 2300 - AL.TERNAT|VES

01 3000 - ADi\iiiNlSTHl\T|\lE P.EQUiFlElu'iENTS

01 3216 - CONSTHUCTiON PHOGRESS SCHEDULE

01 4000 - QUALiTY REQU\REMENTS

01 5000 -TEMPOFlARY FACiL|TiES

01 5713 - TEMPOHAHY EROS|ON

01 6000 - PRODUCT REQU\REMENTS

01 7000 - EXECUT|ON AND CLOSEOUT
FiEOUiHEMENTS

01 7419 - CONSTFtUCTiON WASTE MANAGEMENT
AND DiSPOSAL

01 7800 - Ci_OSEOUT SUBM|`|'|'ALS

DiV|SiON 2 - S|TE CONSTRUCT|ON B‘ii AFtCHiTECT

.\19’9‘§>

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FOFi TECHN|CAL SF‘EC|F|CAT|ONS iNDEX FOR
C|V|L SPEC|F|CAT|ON PFlOV|DED BY (PCE) PEREZ
CONSULT|NG ENG|NEERS, LLC

02 2000 - S|TE PREPAFiAT|ON

02 4100 - DEMOL|T|ON

D|VlSiON 3 - CONCRETE

NoTE: sTnucTuFiAL sPEciFicATioN sections
Pno\/iDEo ev (Ei_/i) FRANK LAi/i & AssociATEs

03 0130.75 - coNcFiETE REPAiFi (FLA)

03 1000 - coNanTE i=oniviii\ie AND AccEssoniEs
iFLAl

03 2330 ~ ooNanTE nEiNi=onciNe (FLA)

03 3000 - CAsT-iN-PLACE concerns (Fi_A)

03 3900 - coNanTE connie (Fi_A)

03 5213 ~ i_ieHTwEiGHT ii\isui_A'riNe coNonETE
(FLAJ

03 3409 ~ cAsT uNoEni_AYi/iENT (Fi_A)

D|VlSiON 4 - lViASONRY

04 0100 - MAINTENANCE OF |V|ASONRY

04 0511 ~ MASONRY N|OFiTAFt|NG AND GROUT|NG
04 2000 - UNiT MASONFtY

04 2731 - RE|NFORCED UNiT MASONFiY

04 7200 - CAST STONE MASONHY

D|VlSiON 5 - METALS

NoTE: sTnUcTuRAL sPEGiFicATioN sEcTioNs
Pnovioeo ev iFLAi FRANK LAivi iix Assooii\i'ss

05 1200 ~ srnucrunni_ sTEEi_ FnAMiNG iFi_ri}

03 2100 - sTEEi_ .ioisT FnAMiNG iFLA)

05 3100 - sTEEL oeoi<iive ii=LA)

05 4000 - ooLo FonMEo METAL FFiAMiNG (FLA)

05 5000 - METAL FABFiicATioNs (i=i_A)

05 5100 - METAL sTAins

05 5134 - ALuMiNui/i LADDEns

05 5213 - PiPE AND Tui=.iE FiAii.iNG

D|VlSiON 5 '- WOOD AND PLAST|CS

06 0507- H|GH FF\ESSUHE DECORAT|VE LAM|NATES

06 1000 - FiOUGH CARPENTFiY

061054-WOOD BLOCK|NG AND CUFlB|NG

06 2000 - F|N|SH CARPENTFlY

06 4100 - CUSTOM CAB|NETS

06 4216 - WOOD VENEEFl FlA|SED PANEL WAINSCOT

00 6510 - SOL|D SUFlFACE FAEHLCAT|ON

D|VlSiON ? ~ THEFlNiAL AND liilOiSTLJFlE PFlCl`i’ECTlON

07 1360 - DRA|NAGE WATERPHOOF|NG

07 1400 - FLU|D-APPL|ED WATERPROOF|NG

07 1900 - WATEFi REPELLENTS

07 2100 - THERMAL iNSULAT|ON

07 2400 - EXTEFl|OFl |NSULAT|ON AND F|N|SH
SYSTEM

07 4113 - METAL PlOOF PANELS

07 4616 - F|BEFi CEMENT S|DiNG

07 5300 ~ COAL TAFl ELASTOMEFliC FiOOFiNG
SYSTEM (AHMKO}

07 0000 - SHEET METAL & MiSC. ACCESSOR|ES FOR
COAL TAR ELASTOMER|C ROOF|NG SYSTEM
(Armko)

07 6110 - SHEET METAL SOFF|T

07 6400 - THROUGHWALL FLASHING SYSTEM
{ARMKO)

07 7200 - ROOF ACCESSOH|ES

07 8400 ~ F|FlESTOPPiNG

07 9005 - JO|NT SEALERS & SEALANTS

07 9513 - EXPANSiON JO|NT COVEFl ASSEMBL|ES

D|VlSiON 8 »- DODHS AND WINDOWS

00 1113 - S'l`EEL. DOOHS AND FFiAMES

08 1210 - ALUMiNUNl CLAD WOOD COMMEFlC|AL
DOOFiS

081423 - ALUM|NUN| CLAD WOOD DOORS

08 1433 - ST|LE AND FiA|LWOOD DOOFlS

08 3100 ~ ACCESS DOOFiS AND PANELS

 

03 3323 - overwer ooiLiNe coons
08 4100 - ALui/iii\iuivi ENTFiANcEs AND
sToFiEi=noNTs
03 4410 - ei_AzED ALuiviiNui/i cunTAiN WALL
03 5213 - Ai_uMiNui/i ci_Ao WooD oouBLE none
Wii\ioovvs
03 7100 - noon HAnowAnE 3 i-iAFrowAFrE
sCHEoui_E (Assa/Abioy)
03 8100 ~ ei_Ass
05 3300 - rviinnons
oivisioN 9 _ i=iNisi-ies
09 2116 - GYPsUi/i BoAFro AssEi/iai_ies
09 3000 - Tii_ir\ie
09 3001 ~ Tii_E ieer Pi=ioTi-:cTioN
09 5100 _ susPENoEo AcousTiCAL cEii_iNGs
09 5114 - FABFiic FAch AcousricAL cEiLiNes
03 5470 - METAL TiLE cEiLii\ie sYsTEi/is
09 5700 - AcousricAi_ wooo oEii_iNG sYsTEM
09 3423 - HAFrowooo Fi_ooniNG - ADHEsivE
APPqu
09 3500 _ nesiLiENT Fi_ooFiiNe (Fiueeen)
09 5501 ~ nEsii_iENT (Rueeen) Fi_oon Tii_E. BASE
AND sTAin TREAos
09 eaoo - cAnPETiNe
09 9000 - PAiNTiNe AND coATiNe
division 10 - sPECiAi_Tii-:s
101101 - visuAL oisPi_AY eoAnos
10 1424 - Pi_AsTic siGNs
10 2113 _ PLAsTic Toii.ET coiviPAnTMENTs
10 2123 - cueioi_Es
10 2301 - WALL AND conn En euAnos
10 2313 - Toii.ET Accessonies
10 4230 - cAsT METAL PLAouEs
10 4400 - Fine ExTiNeuisHEns, cAe\NETs AND
AccEssoniEs
10 5313 - iviErAL sToFiAeE sHEi_viNe
10 7500 - FL.AGPoi_Es
oivisoN 11 - EouiPiviENr
11 0500 - i_ienAnY AnTicLE suninLi_ANcE
sYeTEi\/i
11 5213 ~ Pnoiecriori sanENs
oivisioN 12 - FuaNisHiNes
12 2113 - i-ionizoNTAi_ Lou\/En ei_iNos
12 4940 ~ FroLLEn sHAoEs
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NOTE: Fietererice Pro]eci ivianua| 'v'oiume iii ior Teahnicai
Speciilcation index lot Mechiziriioai. Eieotrioai 0 F’ium bing
Specliications provided by MEPSE [MEP Soiut|oris Engineer|ng)

SPEC|F|CAT|C|NS FOFi ASBESTOS ABATEMENT
fENV|RO] ES [[

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PSJA |SD T-S'TEM EAF|LY CDLLGE HIGH SCHDOL
(Old Mernnrlal Mldd|a Bchoo|)
F'HASE l - RENOVAT|ONS 81 ADD|TIONS
PROJEG'|' Nul'n bars 0900? - PSJ!\ lSD CSP #09-10-006
F'harr, Texas

VOLUME ll
C|V|L SPEC|F|CAT|ONS DIV|SlONS

TECHN|CAL SPEC|F|CAT|ONS INDEX

TXR 150000 TPDES Genera| Pem‘\it

Sec:tion 6 Beddlng and Back!i||

50011011 11 Trenoh E)<uavation and S|lodng Sai‘ety Plan
Sectlon 02000 - Speic\a| Pro|sct Cond1tidris

Sucllor\ 02102 - Cliaaring And Grubb|ng

Section 02221 ~ Tranch Excavatiori And Shur|ng Satet-y Plan
Sect!on 02224 - Plpa deiig. Dr||lliig And Jack\ng

Sact|cln 02240 - L[ma S\abi||zatlori

Ssctlon 02435 4 Hainiorced Gnncrete Drdinage Pipe

Ser:.t¥ori 02553 - Waler Ti'.=.\rismission Llnea and!or Pressi.ire Seiwer Lines
Sect|on 02570 - Sanltary Sewer

Sectlon 02580 - Sldm'\ Sawar Appunenances

Sectlon 02602 - Flimrglass Manholas and Weiwells

Sect|on 02660 - Concrete Curb and Gutter and Va||ey Gutters
Section 02780 - Flat Whaa| Holllng

Sect|on 02910 - Conslr\ir:llori Traflic Conlml

Seclion 02920 - Trench Pmtec:l|cin Syslem

Sectlon 03300 - Cast-|n'P|ace Concrete

Section 03330 - Relnforcing Stee|

Section 15100 ~ Va|ves and Appurtenances

TXDOT 1993 STANDAF{D SPEC|F}CAT|ONS
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TX DOT 1994 STANDARD SPEC|F|CAT|ONS
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|tem 132 - Embanl<ment

|tem 160 - '|`cipaoik

|tem 164 - Siaeding for Eroslon Control

|tem 168 - Vegetat|ve Watering

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|tem 310 - Pr|m Cuat

|tem 340 - DOnse-Graded Hot M|x Asphalt (|V|eihod)
|tem 351 - Fte)ctb|a Pavement Slructure Repa|r
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|tem 420 - Concrete Structures

|tem 421 - Hydrai.iHc Cement Concrete

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|tem 465 - Manho|es and ln|ets

|tem 466 ~ Headwal|s and W|ngwalls

|tem 479 - Ad]ust|ng Manho|es and ln|ets

|tem 531 - Sidewa|ks

|tem 666 - Ref|ectorlzed Pavement Markers
|tem 672 ~ Ralsed Pavement Mar|¢iars

|tem 678 - Pavem ent Surface Preparation for Markings

THESE SPEC|F|CAT|ONS ARE |NTENDED TO COVER ALL C|V|L WOHK HELATED W|TH THE PSJA |SD T-STEM EARLY COLLEGE
H|GH SCHOOL {OLD MEMUH|AL M|DDLE SCHOOL) PHASEI RENOVAT|ONS AND ADD|T|ONS PROJECT. THE CONTRACTOF{ SHALl_
HEFER TO ELEC`|`HICAL MECHAN|CAL, PLUMB|NG AND ARCH|TECTURAL SPEC|F|CAT|ONS FOH WORK NOT COVERED W|TH|N.

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HENOVAT|ONS & ADD|T|ONS
Pharr, Texas

VOLUME l||
PLUMB|NG, MECHAN|CAL, ELECTR|CAL, COMMUN|CATIONS, AND ELECTRON|C SAFETY AND
SECUH|TV SPEC|F|CATION D|VlS|ONS

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211313

F|RE PROTECT|ON SYSTEM

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22 0515
22 0523
22 0529
22 0553
22 0713
22 1116
22 1316
22 1413
22 1429
22 3300
22 4210
22 4250
22 4700

PLUMB|NG GENERAL HEQU|HEMENTS
MATER|ALS AND METHODS

VALVES

HANGEF\S AND SUPPOHTS
PLUMB|NG |DENT|F|CAT|ON
PLUMB|NG |NSU|J\T|ON

DOMEST|C WATER P|P\NG
SAN|TAHY WASTE AND VENT P|P|NG
STORM DF(A|NAGE P|P|NG

SUMP PUMPS

ELECTR|C WATER HEATERS
PLUMB|NG F|XTURES

PLUMB|NG SPECIALT[ES

DR\NKING FOUNTA|NS

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23 0510
23 0515
23 0523
23 0529
23 0548
23 0553
23 0593
23 0713
23 0900
23 0950
23 2113
23 2123
23 2500
23 3113
23 3300
23 3423
23 3600
23 3713
23 6423
23 7313

MECHAN!CAL GENEHAL F{EQU|REMENTS
MATER|ALS AND METHODS

VALVES

HANGEF¥S AND SUPPORTS

VfBRAT|DN AND SE|SMlC CONTROLS
MECHAN|CAL iDENT1F|CAT|ON

TEST|NG, ADJUST|NG AND BALANC|NG FOR HVAC
HVAC lNSUl_ATlON

1NSTF1UMENTA110N AND CONTF\OLS
VAH|ABLE FHEOUENOY CONT‘F\OLLERS
HYDF\ON|C P|P|NG

HYDHON|C PUN|PS

HVAC WATEF{ TFIEATMENT

METAL DUCTS

DUCT ACCESSOR|ES

POWEH VENT|LATOHS

AIR TERM[NA!- UNITS

D|FFUSEF|S‘ HEG|STERS, AND GH|LLES
SCHDL|. WATEH CH|LLEHS

MODULAH 1NDOOH A|H-HANDL|NG UN|TS

23 8127A DX A|H-HANDL!NG UN|TS
23 8127B DX CONDENSING UNITS

23 8130

DUCT FREE SPL|T SYSTEN|S

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26 0923 L|GHT|NG CONROL DEV|CES AND CABLE

26 2200 LOW-VOLTAGE THANSFORMEHS

26 2413 SWlTCHBOARDS

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§PEC|FICAT[C| NS FOR ASBESTDS ABATEMENT
_[ENV|HOTESH

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|PLANS

 

The Pians}Drawmga are ent|t|ad "P SJA |SD T»ST|':',M EAFILY COLLEGE H|GH SCHOOL {Old Memorla| Mlddira School] - PHASE |
F{ENOVAT|ONS & ADD\TiONS. are samad and dated February 24, 2010, unless a d|fferemt date ls shown or they were added by Addandsa.

L[ST OF DRAW|NGS

§ENERAL.

EF\O A CH| C Sl VOLU E
61001 Ccvar Bheet

01101 Code Ana|ysis

61201 Accessihility Flsquirements
G|202 Acceasll:il}ly Hequ|remems
61203 Acceasib|llty F\equ|rements

SURVEY
EFtO ARCH EC :V LU |
VS 101 Ownar-Provided 5th Survey

DEMOLITIQN
ERO C l ECTS:VDLUME

Compnslte Campus Site Demo||tion Plan
En|argad Slta Demo|ition P|an

En|argad S|te Damu\ition Plan

Site Demo||ilon Photos

Band Ha|| and Dressing Room Demo||t|on Pholos
Composite Demolltion Hu1ld1ng P|an

Demoi|llc)n Basernant F|oar Plans

Compos|le First F|oor Demdiillon P|an

Demo|il|c:n F|rst F|oor P|an-Area "A" {Gura)
Demo||tion Flrst F|oor Plan-Area "B" 81 "C‘J East & West
W|ngs

Demo||tion Flrst Floor P|an-Area "B" & "C" East & West
Wings

Compcs|le Secc)nd F|oor Domn|ilion P|an
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Cornposltca Dernnlit\on F!oc)f Plan

Demo|il|nn Roof Photos

Demolit|on Exterlor Elevat|ons & Photos - North
Demo||t|on Exterlor E|evat|ons & Photos - East
Demo|lt|on Exterior E|evat|ons & Photos - South
Demo||t|on Exter|or Elevatlons & Photos - West
Demolltlon Exterior Elevations & Photos ~ Varlous
Demo||t|on Bu||ding Sections & Photos

Demolltlor\ Bui|d|ng Sect|ons & Photos

Demo||tion Bu||d|ng Sect|ons & Photos

Demo||tion Bu||d|ng Sectlons & Photos

Demo|ition Bu||d|ng Sect|ons & Photos

Demo||tion Bu||ding Sections & Photos

Demo|ition Bu||d|ng Secllons & Photos

AD101
AD102
AD103
AD104
AD105
AD201
AD202
AD203
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AD301
AD302
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ADSOB
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AD312

MECHANICAL, ELECTR|CAL, PLUMB|NG - DEMOL|TION

MEP SOLUT|ClNS ENG|NEEH|NQ; vOLUME ||

DM101 Damcl!|tlun Machan[ca| - Basement Fluor P|an
DM102 Demo|it|on Mechan|cal - F|rst F|oor P|an

DM103 Demo|ition Mechanica| - First F|oor Plan

DM104 Demo||tion Mechnnlcm ~ Second Floor Plan

DE101 Demnlitlon E[ectrlca| Lightlng ~ Basement F|our Plan
DE102 Demolhion Elec\r|cal L1gh'l[ng - Firsl F|oc\r P1an
DE103 Demo|ition Electr|ca| L|ghting - Firsl F|oor F'lan
DE104 Demo|itlon Eleotrk:a| L1gh1|ng - Sl:+c:ond Finnr P|an
DE105 Demo||llon Electr|cal Power - Basernent Fioor P|an
DE106 Demo||tion Eleclrlr:a| Power ~ Flrst Ffuor P|an
DE107 Demo!itlon E!ectrica| Power ~ F|rsl Flunr Plan
DE108 Demo||tion Electrica| Power -Second F|oor Plan
DP101 Demo|'\t\on Plumb|ng - Basement F|oor P|an
DP102 Demo|ition P|umb|ng - Flrst F|oor P|an

DP103 Demo||tion P|umbing - First Floor P|an

DP104 Demo||tion P|umblng ~ Second Floor Plan

C|V|L
PEF\EZ CONSULT|NG ENG\NEEHS: VOLUME ll

CE101
CE102
CE103
CE104
CEIGE
CE1DB
CE107
CE1UB
CE109
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CE111
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CE122

S101
5102
8103
S104
3105
S106
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AS101
A3102
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AE301

 

EXHIBIT EIGHT

Page 5

Ovom|l Slte P!an
Dimana|on Conlrol Plan
D|menalan Comro! Flan
Grading & Dra|naga P|an
Gracling & Drainaga P|an
UH!ity P|an

Plan & Prol||e

Plan & Profl|e

Plan & Profile

Flr Street/U,S. Bus|ness 83 |ntersectlon Layou\
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Clvl| Detai|s

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STBUC|HHAI_.,
FHANK LAM 81 AES(JCIATES: VOLUME ll

Basem ent P|an

Foundat|on P|an

Second Floor Framing P|an
Mezzanine Fram\ng Plan
Roof Fram|ng P|an

Library P|ans

Framing Details

AF!CH|TEC l UF|AL
EHO F{CI G

' DLUME

Compoaiie Carnpusz Slta Plan

Enlargud Archhec\ura| Site P|an

Eniargad Archilaclurai Slte P\an

Compos\te Bu||d|ng P|ans

Basement Floor

Cnmpnsite Flrst F|oor P}an

Firs.1 F[nor Area "A" (Cure)

Flrst Fluc¢r Are'a "B" 81 "C" East & West Wir\gs

Flrst F|oor Area "D" Library

Composlte Seoc:nd Fir.mr Plan

Seccnd Floor Flan-Area "A" (Cora)

Becdnd Fidor Arma "B" & "C" {Eas! & Wc-)st W|ngs}
Composlla Rel|ectad Cailing Pinn

Basement Ref|acted F!uur Plan

Com pos‘ne Flrst Floclr Rlaf|elctad Cu1|1ng P|an

Firsl F|our Area "A" {Cora)-Haflectad Oa[|mg P|an
Firsl F|onr Area "B" & "G" East & Weal W|nga-Hef|er:tad
Celllng P|an

First Flnor Area “D" lerary ~Hoilected Cel|ing P|an
Composlta Second F|oor P|an-Hef|euwd CeH}ng P|an
Second F|our Plan_nrea "A" [Cnre)_Hansotad Ce|l1n_q P|an
Second Floor Ardu "B" 31 "C" (Easl West W!ngs}-Retrected
Ce|||ng P|an

Compos|te Roof Plan

Roof Plan - Area "A"

Roof Plan - Araa "B" & "C"

Hoof Plan - mea D

Nonh and Weat Exterior Building E|evations

South and East Exterlor Bu||d|ng E|evations

|nter|or E|evalions and Deta\ls

|nterior E|evatlons and Details

|nterior E|evat|ons and Detai|s

Bu||d|ng Sect|ons

Case 7:15-cv-OO465 Document 1-11

 

Filed in TXSD on 11/06/15 Page 16 0185

 

AE302 Bui|d|ng Sections ME403 Mechanlca| Schedules
AE303 Bul\ding Seotions ME404 Mechan|ca| Schedu|es
AE304 Bu||ding Sect|ons ME501 Mechanica| Detal|s
AESOS Bu||d|ng Sect|ons ME502 Mechan|ca| Deta||s
AE306 Deta||s EL101 Electrica| nght|ng-Basement Floor P|an
AE307 Detai|s EL102 Electrlcal nghting - First Floor P|an
AEGOB Deta||s EL103 Electr|ca| Lightlng-First Floor P|an
AE309 Detal|s EL104 E|ectrlca| L|ghting - Second Floor P|an
AE310 Detal|s EP105 E|ectr|ca| Power- Basement Floor P|an
AE314 Part|t|on Types EP106 E|ectr|ca| Power-FirstF|oor P|an
AE315 Part|tlon Types EP107 E|actr|oa| Power- F|rstFloor P|an
AE401 Enlargad Toi|et Hoom P|ans and E|evat|ons EP108 E|ectr|ca| Power- Second Floor P|an
AE402 En|arged Tuilat Roam Plans and Efevations EP109 Electrlca| Lightlng and Power Mezzanlne- Second Floor
AE403 Enlarged Classrnom P|ans and Elevat|ons . P|an
AE404 Enlarged Classroom P!an_s and Elavatfons EP110 E|ectrica| ~Mechan|ca| and P|umb|ng Equipment Locatlon-
AE405 En|arged Classroom P|ans and E|evat|ons Basement Floor P|an
AE406 En|arged C|assroom P|ans and Elevat|ons EP111 E|ectrlcal -Mechanica| and P|umb|ng Equ\[')ment Locat|on-
AE407 En|arged P|ans and Elevations First Floor P|an
AE408 En|arged Plans and E|evat|ons EP112 E|ectrioal -Mechanica| and P|umbing Equlpment Location-
AE501 Floof Detai|s First Floor P|an
AE502 Roof Detal|s EP113 Electr|cal-Mechan|oa| and P|umb|ng EqulpmentLocatlon-
AE503 F\oof Deta||s Second Floor P|an
AE504 Waterproofing Deta||s EP201 E|ectrlca| Legend
AE505 Waterprooflng Deta|ls EP202 E|ectr|ca| H|ser Dlagram and Schedu|es
AE506 Waterproofing Detai|s EP205 EIectr|ca|-Mechan|ca| and P|umbing Connectlon Schedu|e
AE510 Ce|||ng Deta||s EPZOS E|ecirica| Panel Schedules
AE511 Cei|\ng Deial|s EP207 E|ectrlca| Pane| Schedu|es
AE512 Celllng and E)<pans|on Joint Deta||s EP208 E|ectr|cal Pane| Schedu|es
AE601 Door & Frame Schedu|e EP209 E|ec1rica| Pane| Schedu|es
AE602 E|avated Door and Window Typas EP210 E|ectr|ca| Pane| Schedu|es
AEGO3 E|evated Door and W|ndow Types EP301 E|ectrica| Details
AE604 Elevated Door and W|ndow Types EP302 E|ectrica| Deta||s
AF101 Finlsh Schedu|e
_P_L_um§iaa
MECHAN|CAL ELECTR|CAL PLUMB|NG PL101 P|umb|ng-Sewer ~ Basement Floor P|an
MEE SOLUTIONS §NGE|NE§E|HG: L[DLUN|E ll PL102 P|umb|ng Sewer- First Floor P|an
MS100 M_E_P, Site P|an PL103 P|umb|ng Sewer- First Floor P|an
ME101 Mechanlca| .. gasemem P|an PL104 P|umb|ng Sewer - Second Floor P|an
ME102 Mechanica| __ F|rst Floor P|an PL105 P|umb|ng HW/CW - Basement Floor P|an
ME103 Meohanlcal - First Floor P|an PL106 P|umb|ng HW/CW - First Floor P|an
ME104 Mechanical ~ Sacon`d Floor P|an PL1O7 P|Umb|ng HW/CW ~ F|rSf F|OOF P|an
ME1O5 Ch||;ed Wat@r pipmg plan PL1OB P|umb|ng HW/CW - F|rst Floor P|an
ME106 Enlarged Canlral Plantand Mazzanlne PL201 P|Umb'"g 3001 ' F'OOF P|an
ME201 Machanlcal owned Wamr Fruw Dlagram PL301 P|umb|ng Deta"$
ME301 Mechanica| Control Drawings PL4O1 Plumb|ng Schedu'es
ME401 Mechanica|Schedu|es
ME402 Mechan|ca| Schedu|es
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Thafe Were four (4] Addanda |ssued for this projac| and are as follows:

Data

March 12, 2010
March 24. 2010
March 30, 2010
Apr|| 5. 2010

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Addandum No. 1
Addendum No. 2
Addendum No. 3

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Addendum No

Elghl (B) pages
One Hundred Seven (107) pages
Twe!ve (12) pages
F|lty (50) pages

EXHIBIT EIGHT

Page 6

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 17 of 85

AFFIDAVIT IN SUPPORT OF MOTION TO DISMISS

STATE OF TEXAS §
COUNTY OF HIDALGO §

BEFORE ME the undersigned Notary Public, on this day personally appeared David L.
Flores who being by me dully sworn on his oath deposed and said:

l. My name is David L. Flores‘ l am of sound mind and capable of making this
affidavit, and l am personally acquainted with the facts stated in this affidavitl

2. l am an attorney licensed to practice law in the State of Tcxas. Ipractice With the Law
Finn of Flores & '1"01'res, L.L.P, in Hidalgo County, Texas. l am familiar with the
standards for litigation practice in Hidalgo County, Texas and with the usual, customary
and reasonable attorney’s fees charged for legal representation in business and
commercial litigation in Hidalgo County, Texas.

3. ln this case our firm performed 12 hours of necessary work in preparing the Motion to
Dismiss including the following reasonable and necessary legal services for our client,
VCI Builders, lnc.: Research, document review, preparation of our answer and related
motions, client conferences and insurance claim services If the court conducts an oral
hearing on the motion, l anticipate that an additional 4 hours of legal work will be needed
to prepare for and participate in the hearing on the motion.

4. In my Opinion, the usual, customary and reasonable hourly rate for attorney’s services
rendered in litigation similar to that involved in this case in Hidalgo County, Texas, by
experienced lawyers is $250 per hour.

5. ln my opinion, attorney’ s fees in the amount of $3, 000. 00 is reasonable in this case for
the necessary legal services incuned in the trial court by VCI 13411'1 . ', 1111:.., with respect
to the challenged cause of action. )

  

 

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sUBsCRIBED AND sWoRN ro BEFORE ME 011 161;-1111€11-_d11y 011/lay 2015.

 

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~1_ vslPA' _ . -. . - ,
RO° m OU ' 1 Notary l’ubhc 111 and for the State of fexas

'-lr Nma.'\,- t-`.ll'lll?, S'.':lt€:' ~‘;')f `¥~"-f»`\"»
My Commission expires.< g 1 it §:;' §§ `Q©\_\

  
 
  

Mv Comm\ssic~n l \0@"'"“1

August 23, 2015

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P§t|ge 18 of 85
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5/7/2015 2140:28 P|\/|
Hida|go County District C|erks

mm Reviewed By: C|audia Rodriguez

1~‘\ l’lol"ession'al (:.`.01'[)()1'.'1111')11

 

24 Greenway P|aza ' Suite 2000 ' Houston, Texas 77046
Te| 713-623-2550 ' Fax 713-623-2793

STEPHANIE WElsS, LEGAL ASSlsr/\NT
EMA\L: swelss@aunele-LAw.coM

May 7, 2015

ViA E-FILING

Laura Hinojosa

Hidalgo County District Clerk
100 North Closner, First Floor
Edinburg, Texas 78539

Re: Cause No. C-5149-14-H
Pharr San Juan Alamo lndependent School District v. Texas Descon, L.P.,
Descon 4S, LLC and ERO International, LLP d/b/a ERO Architects
In the 389th Judicial District Court, Hidalgo, Texas

Dear Ms. Hinojosa:

I arn requesting that the following citation be issued and served by the Hidalgo County
Sheriff‘s office.

1. McAllen Carpet & lnteriors, L.P., is a limited partnership which may be served
with process through its registered agent, GJ Reyna, at 1001 E. Whitewing
Avenue, Suite A, McAllen, Texas 78501.

Thank you for your attention to this matter and please ca11 at your earliest convenience
with any questions or comments

Yours very truly,

ca3{1;]<:,phanie G. Weiss

Legal Assistant

/sgw

Case 7:15-cv-OO465 Document 1-11 Filed ln TXSD on 11/06/15 Page 19 of 85
Electronica||y Filed
5/7/2015 2;40:28 PM
Hida|go County District C|erks

 

May 7, 2015 Reviewed By: C|audia Rodriguez
Page 2
c: Jesus Ramirez Vl)\ FACS! M ler (956) 502~500'?'

Attorney at Law

700 Veterans Blvd., Suite B
San Juan, Texas 78589

David P. Benjarnin Vu\ FACS\M\LF. (210} 881-0668
Benjamin, Vana, Martinez & Biggs, LLP

2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

Sara Whittington Ma VIA FACSIMILE (512) 708 0519
Allensworth & Porter, LLP

100 N. Congress Avenue, Suite 100

Austin, Texas 78701

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 20 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

MCALLEN CARPET & INTERIORS, LP

BY SERVING REGISTERED AGENT: GJ REYNA
1001 E. WHITEWING AVENUE, SUITE A
MCALLEN, TEXAS 78501

You are hereby commanded to appear by filing a written answer to the DEFENDANTS'
THIRD-PARTY PETITION on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date of service hereof, before the Honorable
Letty Lopez, 389th District Court of Hidalgo County, Texas at the Courthouse at 100
North Closner, Edinburg, Texas 78539.

Said petition was filed on this the 30th day of March, 2015 and a copy of same
accompanies this citation. The file number and style of said suit being C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by ATTORNEY: SPENCER EDWARDS
24 GREENWAY PLAZA, SUITE 2000 HOUSTON, TEXAS 77046.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the llth day of May, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

).__
CLAUDIA I. RODRIGU'E£:FDEP TY CLERK

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 21 of 85

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of , 201 at o’clock .m. and
executed in County, Texas by delivering to each of the Within named

Defendant in person, a true copy of this citation, upon which l endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TlME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage 1 may have traveled in the service
of other process in the same case during the same trip,

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

ln accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is ,and l
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201_.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P§Q§r%aqt, §§d
4/17/2015 9;56:54 Alvl

H'dl c to't‘tcl k
CAUSE NO' C‘5149'14'H Riavaiegv(v)edoej; §ris|:iil|; Riv:rs S
PHARR SAN JUAN ALAMO § IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT §
Plaintij§" d §
- §
§ .
VS. '§ 389TH JUDICIAL DISTRICT
_ §
TEXAS DESCON, L.P.,` DESCCN 4S, §
L.L.C. and ERO INTERNATIONAL, §
L.L.P. d/b/a ERO ARCHITECTS §
Defel’ldam`.$‘ § HIDALGO COUNTY, TEXAS
SUBPOENA DUCES TECUM
THE STATE OF TEXAS

TO: Any Sheriff; Constab|e; or any Person not less than 18 years old and not a Pariy:

lSSUANCE DATE: April 16, 2015

YOU ARE COMMANDED to serve this Subpoena forthwith by delivery to the following person:

Witness: Custodian of Records
Raba-Kistner lnc.
Address: 800 E. Hackberry Avenue

McAllen, Texas 78501

GREET|NGS,

YOU ARE COMMANDED to appear and testify in the above named proceeding at the following place and time:

 

Address: APEX Document l\/lanagement
3217 West Alberta, Edinburg, T'exas 78539

 

Date and Time: Friday, May 8, 2015 at 11:00 o’c|ock A.M.

 

 

 

YOU ARE COMMANDED TO BR|NG with you the following document(s) and object(s):

Any and all documents and test reports provided to Pha_rr San Juan A|amo |ndependent
School District' in connection with the PSJA |SD T- STE'|V| Ear|y College High School Phase l,
R`enovation's and Additions project, Pharr, Hidalgo County Texa's, specifically relating to Water
infiltration/moisture content/compressive strength tests on concrete dating from 2010 to 2011.

 

 

 

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 1'1/06/15 ngcercg`§aqj §§d

4|/17/2015 95 56: 54 A|\/|

mm ., cease k
Subpoena issued on the request of: Pharr San Juan A|amo independent$¢:ihee} Priscma eggs

District

 

Jesus Ramirez

700 North Veterans Bou|evard, Suite B
Sa_n Juan, Texa`s 78589

Phone: 956/502'-5424

Fax: 956/502¢5007

Attorney for Pharr San Juan Alamo |.S.D.

inquiries may be addressed to:
The J. Ramirez Law Firm

 

 

 

This subpoena shall remain in effect until your are relieved by the court. A witness fee will be paid _to you
upon your appearance by the party requesting this subpoena. Faiiure to comply with this subpoena will

subject you to the judicial powers of a Texee court, including contempt o`f court and being forcibly
compelled to appear.

FA|LURE BY ANY PERSON W|THOUT ADEQUATE EXCUSE TO QBEY A SUBPOENA SERVED UPON THAT
PERSON MAY BE DEEMED A CONTEMPT OF THE COURT FRONl WH|¢H THE SUBPOENA lS lSSUED OR A

D|STR|CT COURT lN THE COUNTY lN WHlCH THE SUBPOENA lS SERVED, AND MAY BE PUN|SHED BY '
lF|NE OR CONFlNEMENT, OR BOTH.

Texas Rules of Civil Procedure, Rule.176.8 Enfo_rcement of Subpoena.

(a) Contempt. Failure by any person Without adequate excuse to obey a subpoena served upon that person
may be deemed a' contempt of the court from which the subpoena is issued or a district court in the county
in Which the subpoena is served, and may be punished by fine or confmement, or both.

 

Ang 16, 2015 <:;]/h_/--
Date Jesus Ramire_z,‘§ttorney issuing Subpoe_na

under Ruie 176 of the Texas Ruies of Civii Procedure

 

Case 7:15-0\/- -00465 D_ocument 1-11 Filed in TXSD on 11/06/15 Peé%e 240 i85

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4/17/2015 9: 56: 54 AM
Hida|go County District C|erks
Reviewed By: Prisci|ia Rivas

RETURN ON SUBPOENA DUCES TECUM

I certify and return thatI received the annexed subpoena duces tecum on H" ` ‘\ \\° ,,2015 at
\°‘3° prm., and that l executed this subpoena duces tecum by delivering a copy to

 

 

_ ij\\*¢-f.___, at 300 {. U¢.am`\gcrru-\
v-»J\\\¢»~.’}¥ Hidalgo County, Texas, on the 39 day of §§ §,2015. My fee for the
execution of this subpoena' 15 $ w . 90

l\af.`_;;‘?

 

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Pl:oeobem%l§a ;§|§d
4/_17/2015 9:56:54 Alvl
CAUSE NO. C_5149_14_H H\da|go County District C|erks

Reviewed By: Prisci||a Rivas

PHARR SAN JUAN ALAMO § IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT § '
Plaz'nti]j” §
§
§
vs. § 389TH JUDICIAL DISTRICT
§
TEXAS DESCON, L,P., DESCON 4S, §
L.L.C. and ERO INTERNATIONAL, §
L.L.P. ci/b/a ERO ARCHITECTS §
Dej%ndants § HIDALGO COUNTY, TEXAS

NOTICE OF DEPOSITION ON WRITTEN QUESTIONS OF CUSTODIAN OF RECORDS FOR
1 RABA~KISTNER, INC.

1. Pursuant to Rule 205, T.R.C.P., Movant Pharr San Juau Alarno I.S.D., Plaintiff in the above-
captioned action, hereby gives notice of Deposition On Written Questions of the non-party listed
_ below. ,The subpoena is issued under Rule 176.2(a) to be served on the following

Witness: Custodian of Records
Raba-Kistner, Inc.

Address: 800 Eas_t Hackberry Ave.
McAllen, Texas 78501

2. The place of deposition is 3217 West Alberta, Edinburg, Texas 78539 on the Sth day of May,
2015, at 11:00 A.M., as listed on the subpoena, unless alternate arrangements are made with the
deposition officer, a notary public to be designated If the witness proves to be uncooperative,
Piaintift` may issue additional subpoenas for the witness or his representatives to appear at other
locations

3. A copy of this Notice is being served on the witness in compliance with Rule 205, T.R.C.P.
- concerning Discovery from Non-Partics.

4. A copy of this Notice is being served on all other attorneys or unrepresented parties of record
Pursuant to _Rule 200, all other parties may timely serve cross-questions by sending copies to the
undersigned, which will be propounded at the deposition The direct questions are on the attached
pages.

5. The transcript of the deposition upon written questions will be available from the undersigned for
all other parties to inspect and/or copy, upon reasonable advanced notice.

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P§ge 26 §§/§;T:éd

 

ctronlc
4/17/2015 9:56:54 Al\/|
Hidalgo Count~y District C|erks
Reviewed By: Priscl||a Rivas

Respectfully Subrnitted

THE J. RAM]REZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Jun, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

By: di /

JEsus RAMJREZ

SBN 16501950

Emai-l\: ramirezbeolc@grnaii.com

ROBERT SCHELL

SBN 24007992

Email: rschellf&},rg-legal.eom
ATTORNEYS FOR PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

 

Case 7:15-0\/- -00465 Document 1-11 Filed in TXSD on 11/06/15 Page 27 of 85

E|ectronical|y Filed
4/17/2015 9: 56: 54 AM

Hidaigo County District C|erks
CERTIFICA_TE OF SERVICE Reviewed By: Prisci||a Rivas

l, JESUS RAMIREZ, certify that on the _1____6th day of April, 2015, the foregoing NOTICE OF

DEPOSITION ON WRITTEN QUESTIONS OF CUSTODIAN OF RECORDS_ FOR RABA-KISTNER,
INC. Was served on the following:

Viu Hund Deliven.j
Custodian of Records

RABA-KISTNER, INC.
800 East Hackberry Avenue
McAllen, Texas 78501

/

Vt'a Certi{r:ed Mai£ ,
Remm Rec§fpt Reeuestea' No. 7014 1820 0901 6490 3 969

aer Emm'l: mbga;@plugv. com
_ Matthew B. Cano

ALLENSWORTH AND PO_RTER, L.L.P.
100 Congress Avenue, Suite 700
Austin, Texas 78701

Via Certi[ted Maii,
Return Rece§g`a‘ Reg¢¢ested No. 701'4 1830 0001 6490 3 9 76

and Emai£: sedward§@,!mdgins-Iaw.com
Spencer Edwards

THE HUDGINS LAW FIRM

A PROFES SION-AL CORPORATION
24 G_reenway Plaza, Suite 2000
Hou`ston, Texas 77046

Viu Certi[¢ed Mail,
Return Recer'pt Reauesrer_l_No. 7014 1820 0001 64 90 3983

and Emm'i: dbeniamin@£enlawsa.com
DavidP Benjamin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213

._/Ta//~

JESUS R'Ai\uaaz

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 28 i§§
E ctroruca y lied
4/17/2015 9:56:54 AI\_/l
Hida|go County District C|erks
Reviewed By: Prisci|ia Rivas

DIRECT WRITTEN QUES'I`IONS FOR CUSTODIAN OF RECORDS
FOR RABA-KISTNER, INC.

. Please state your full name for the record.

. What is your connection, title, aftiliation, and/or position with RABA-KISTNER, INC., now and
in the past?

. Did you receive a subpoena requesting documents? If yes, give all responsive documents to the
Deposition Officer to be marked as “Exhibit 1.”

. Are the documents marked as “Exhibit 1” originals or true and correct copies of originals?

. Were the documents marked as “Exhibit 1” documents made, generated, produced, or kept in the
ordinary course of business?

. Were the documents marked as “Exhibit l” made at or near the time of the acts, events, conditions,
or opinions to which they refer and were they made by and from information transmitted by a
person with knowledge of the activity?

. Were there any documents responsive to the subpoena duces tecum that you did not produce‘? If
yes, list below any such documents not produced and state the reason for non_-production.

 

CaSe 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P<'§\|ge 29 of 85

ctronical|y Filed
4/17/2015 9:56:54 Ai\/|
Hida|go County District C|erks
Reviewed By: Prisci|la Rlvas

sIGNED this day or ,2015.

 

 

Affiant’s Signature Affiant’s Address

Case 7:15-cv-OO465 Document 1-11 Filed in tTXSD on 11/06/15 Page 30 of 85
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c-5149-14-H QPS‘ '~*-

389TH DISTRICT COURT, HlDALGO COUNTY, TEXAS /\;-,[Q .j, 7 2,~‘._.5
.-11 l w .

cITATION Q?Y l

STATE OF TEXAS

 
  

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney.
you or your attorney do not file a written answer with the clerk who issued this citati
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after y<
were served with this citation and petition, a default judgment may be taken against you.

MCALLEN CARPET & INTERIORS, LP
REGISTERED AGENT GJ REYNA

1200 E JASMIN AVE

MCALLEN TX 78501

You are hereby commanded to appear by filing a written answer to the
DEFENADANTS THIRD PARTY PE'I`ITION on or before iO:OO o’clock a.rn. on the
Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honurable Letty Lopez, 389th District Court of Hidalgo County, Texas at
the Courthousc at 100 North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citalir)n. The file number and style of said suit being C-5149-i4-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTR!CT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by SPENCER I_,AYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444',

The nature of the demand is fully Shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the lOth day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

,-'-_/

<F:_;`>¢_ Hé.j_JQ/_?,=, /j/ (.?___

PRfS'C'ILLA RIVAS, DEPUTY CLERK

Case 7:15-cv-OO465 Document 1-11 Filed in IXSD on 11/06/15 Page 31 of 85

 

¢--l-llld
C-5149-14-H
OFFICER’S RETURN
Came to hand on /0 of A;an" , 201 ')_ at“¢ ='2[ o’clock ,,L.m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

NAME / DATE Tl]\/IE YACE

And not executed as to the defendant, /,_ .T /(»_r r»¢- the

diligence used in finding said defendant, being:/Q¢ug_,¢: af .e,¢-{»//¢.r.r and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage l may have traveled in the service

of other process in the same case during the same trip.

. ,4' ‘&Z,\¢ no v f c L.J

Fees: serving copy(s) $ ff ' \ " M ‘V""/ C" "/"#y/
miles ii _

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

ln accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following fornt:

“My name is . my date of birth is
and the address is .ttnd I
declare under penalty of perjury that the foregoing is true and correct.

 

EXECUTED in County, State of Texas, on the day of

201__.

 

 

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 32 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. lf
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

MCALLEN CARPET & INTERIORS, LP
REGISTERED AGENT GJ REYNA

1200 E JASMIN AVE

MCALLEN TX 78501

You are hereby commanded to appear by filing a written answer to the
DEFENADANTS THIRD PARTY PETITION on or before 10:00 o’clock a.m. on the
Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable Letty Lopez, 389th District C0urt of Hidalgo County, Texas at
the Courthouse at 100 North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation. The file number and style of said suit being C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO

ARCHITECTS

Said Petition was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof

The officer executing this writ shall promptly Serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 10th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

(__ . \x_)___ _ (._`_ _C__}t.? /) (-'

PRIsciLLA RIvAS, DEPUTY CLERK

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 33 of 85

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of . 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
l actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage l may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) $
miles '5

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must Sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
Statement below in substantially the following form:

“My name is , my date of birth is
and the address is .and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201_.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 34 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

MCALLEN CARPET & INTERIORS, LP
REGISTERED AGENT GJ REYNA

1200 E JASMIN AVE

MCALLEN TX 78501

You are hereby commanded to appear by filing a written answer to the
DEFENADANTS THIRD PARTY PETITION on or before 10:00 o’clock a.m. on the
Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable Letty Lopez, 389th District Court of Hidalgo County, Texas at
the Courthouse at 100 North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation, The file number and style of said suit being C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 10th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

_ __ ___/l /_ / ' I__ ..
<. \_`_-)r.t _-('.;_ .-_C'.:..CC /j c - - -
PRISCILLA RIVAS, DEPUTY CLERK

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 35 of 85

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of . 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which l endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(S) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is , my date of birth is
and the address is .anti I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201__.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

 

  
  

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.__, ___ _
C-5149-14-H -- .-t .--.;_.¢ .' _
389TH DISTRICT COURT, HIDALGo couNTY, mar _HQ (_~;-[-_.}_T__-_,.;_.___ _

     

CITATION APR 2 9 2525
STATE OF TEXAS :,.*.t"‘t»\ i'l.` "."" -`=.."t '.`.L_Fr'..-t
|L`_‘- __:-‘,-'.='.\','-\_ ` § -t_ii';~i_f_] C-C)Ur`. ,
N()TICE TO DEFENDANT: `Yeu have been sued. You may employ__a_n _a_L o y._____lf _,r_\,__- __.

you or your attorney do not file a written answer with the clerk who issued t nisi-citation
by 10',00 a.m. on the Monday next following the expiration of twenty (20) da s after you
were served with this citation and petition, a default judgment may be taken against you.

CI'lACl-IO'S RECYCLING

OWN ER! AUTHORIZED REPRESENTATIVE
DANIEL JOSH HAMMER

3820 S JACKSON RD

PHARR TX 78577

You are hereby commanded to appear by filing a written answer to the DEFENDANTS‘
THIRD PARTY PETlTI()N on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date ol` service ltercof. before the Honorable
Letty Lopez, 389th District Court of I-Iidn[go County, 'l`exas at the Courthouse at 100
North Closner1 Edinburg, Texas 78539.

Said petition was filed on the on this the 1401l day of May, 20[4 and a copy of same
accompanies this citation. 'l`lie tile number and style of said suit being C-5149-14-I-I,
PHARR SAN JUAN ALAMO lNl)El’ENDENT SCHO()L DISTRICT VS. TEXAS
DESCON, L.P., I)ESCON 4S, L.L.C., ERO lNTERNATlON/\L, L.L.P. `l)fB/A ER()
ARCHITECTS

Said Petition _was filed in said court by; SPENCER LAYNE EDWARDS 24
GREENWAY PLAZA SUITE 2000 HOUSTlN TX 77046

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shai| promptly serve the same according to requirements
of law, raid the mandates thereo [", and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
'chas on this the 10th day o[`April, 2015.

LAURA HINOJOSA, DISTRICT CLERK

 

 

@:ILLA RIVAS, DEPUTY CLERK

se 7.15 cV-OO465 Document 1-11 Filed m TXSD on 11/06/15 Page 37 of 85

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C-SJ 49-1 4`-H
OFFICER’S RETURN

Came to hand on ’6 _ of A_Pf'.r‘/ , 201£__ at lgzléfo`clock .m. and
executed in ' _ County, Texas by delivering to each of the w' hin named
Defendant in person` a true copy of this citation, upon which l endorsed the date of

delivery o said Defen nt t gather with the accompanying copy of the
fhwa d£g’ ZZHEJ: £,\Lj ££!'¢' z:'¢*(petition) at the following times and places, to-wit:
b-o_l- lt-J.‘~ l'l¥‘t }< L l‘H lto`DJ'
l NAME DATE TlMl-`i PLACE l

l emi dea haw “1~;€¢/¢’ //:/~1¢¢1,-1 am s :rf¢»f;',,. rs l

 

 

 

 

 

 

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%An not executed as to the defendant, / j the

 

 

 

diligence used in finding said defendant, being: _ and the
cause of failure to execute this process is: and the
information received as to the whereabouts of said defendant, being:

l actually and necessarily traveled _ miles in the

 

service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) $ 6'
miles .................... $_ _ _ »50/€£'€ ami
:;r“(/,<_,_l_ 917 .s¢,».-¢r.f/% ~M¢

.. / ma
DEPUTY 6" ” "

COMPLETE IF YOU ARE PERSON OTHER THAN A SHER!FF,
CONSTABLE OR CLERK OF THE COURT
ln accordance to Rule 107, the officer or authorized person who serves or attempts to
Serve a citation must sign the return, If the return is signed by a person other than a
sheriff1 constable or the clerk oI' the court1 the return must either be veritied or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially thc following form:

 

“My name is ,. my date of birth is
_ and the address is _ ,and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201 .

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 38 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

CHACHO'S RECYCLING

OWNER/ AUTHORIZED REPRESENTATIVE
JOSH HAMMER

ROUTE 31 BOX 133 H-2

PHARR TX 78577

You are hereby commanded to appear by filing a written answer to the DEFENDANTS'
THIRD PARTY PETITION on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date of service hereof, before the Honorable
Letty Lopez, 389th District Court of Hidalgo County, Texas at the Courthouse at 100
North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation, The file number and style of said suit being C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof,

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 10th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

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Pltiso'll;t;i\'"klvz§s; `DEFL\FTY cLERK

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 39 of 85

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of , 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) .‘B
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is , my date of birth is
and the address is ,and l
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201__.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 40 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

CHACHO'S RECYCLING

OWNER/ AUTHORIZED REPRESENTATIVE
JOSH HAMMER

ROUTE 31 BOX 133 H-2

PHARR TX 78577

You are hereby commanded to appear by filing a written answer to the DEFENDANTS'
THIRD PARTY PETITION on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date of service hereof, before the Honorable
Letty Lopez, 389th District Court of Hidalgo County, Texas at the Courthouse at 100
North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation, The file number and style of said suit being C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 10th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

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Pttlsoll;l;.rr it-I-vss,' DEIFIFTY CLERK

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 41 of 85

 

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of , 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TlME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
l actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
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statement below in substantially the following form:

“My name is . my date of birth is
and the address is .and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201_.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

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C`-5149-14.H O'Cl.oOY,M

389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS APR 1 7 2515

   
 
     
    

CITATION utu u\:<c.'»os ,cctr_ak
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sTATE oF TEXAS 9" "“'O" ° i. mu.)y

NOTICE TO DEFENDANT: You have been sued. You may employ a alto
you or your attorney do not file a written answer with the clerk who issu d t '
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

VCI BUTLDERS, lNC.

REGISTERED AGENT JOSE LUIS ARREDONDO
217 W NOLANA STE 24

MCALLEN TX 78504

You are hereby commanded to appear by filing a written answer to the DEFENDANTS'
THIRD PARTY PETITION on or before 10:00 o’clock a.m. on the Monday next after
the expiration of twenty (20) days after the date of service hereof, before the Honorable
Letty Lopez, 389th District Court cf Hidalgc County, Texas at the Courthouse at 100
North Closner, Edinburg, Texas 73539.

Said petition was filed on the on this the l4th day of May, 2014 and a copy of same
accompanies this citation. The file number and style of said suit being C-5149-14-i-l,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. DfoA ERO
ARCHITECTS

Said Petitien was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUlTE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the ll)th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HI])ALGO COUNTY, TEXAS

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PRISCILLA RIVAS, DEPUTY CLERK

 

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C-5149-14-H
OFFICER’S RETURN

Came to hand on 'ZQ of g , 201 51 at Z!£¢ o’clock g .m. and

executed in M;(¢ County, Texas by delivering to each of the within named
Defendant in person, a true copy of this citation, upon which l endorsed the date of
delivery to said Defendant together with the accompanying copy of the

 

Case 7:15-cv-OO465 Document 1-11 filed in TXSD on 11/06/15 Page 43 of 85
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.JD»' (petition) at the following times and places, to-wit:

| NAME DATE TIME PLACE

l;/;a/ us warn 7'/¢~/>' //>e,s. m w. aaa ,.m.,i.

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
l actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage l may have traveled in the service
of other process in the same case during the same trip.

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Fees: serving copy(s) $

 

 

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DEPUTY

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE 0R CLERK OF THE COURT
in accordance to Rule 10?, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is .and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of
201__.

 

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 44 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who issued this citation
by 10100 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

VCI BUILDERS, INC.

REGISTERED AGENT JOSE LUIS ARREDONDO
217 W NOLANA STE 24

MCALLEN TX 78504

You are hereby commanded to appear by filing a written answer to the DEFENDANTS'
THIRD PARTY PETITION on or before 10:00 o’clock a.m. on the Monday next after
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Letty Lopez, 389th District Court of Hidalgo County, Texas at the Courthouse at 100
North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation, The file number and style of said suit being C-5149-l4-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof,

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 10th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

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PRISCILLA RIVAS, DEPUTY CLERK

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 45 of 85

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of . 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which l endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage l may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is `and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201_.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 46 of 85

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

VCI BUILDERS, INC.

REGISTERED AGENT JOSE LUIS ARREDONDO
217 W NOLANA STE 24

MCALLEN TX 78504

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PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO

ARCHITECTS

Said Petition was filed in said court by SPENCER LAYNE EDWARDS; 24
GREENWAY PLAZA SUITE 2000 HOUSTON TX 77046-2444;

The nature of the demand is fully shown by a true and correct copy of the petition
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ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 10th day of April, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

<:;)>_ _.<'"" -,C'-'_-'_-r»c y (:;._

PRISCILLA RIVAS, DEPUTY CLERK

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 47 of 85

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of . 201 at o’clock .m. and
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NAME DATE TIME PLACE

And not executed as to the defendant, the

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I actually and necessarily traveled miles in the

 

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of other process in the same case during the same trip.

Fees: serving copy(s) $
miles .................... $

 

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COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
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under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is , my date of birth is
and the address is ,and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
201__.

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P§ge 48 pli; §i§%d

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24 Greenway P|aza ' Suite 2000 ' Houston, Texas 77046
Te| 713-623-2550 ~ Fax 713-623-2793

STEPHANIE WEISS, LEGAL ASSISTANT
EMA|L: sWElss@HuDGle-LAW.cOM

April 6, 2015

VIA E-FILING

Laura Hinojosa

Hidalgo County District Clerk
100 North Closner, First Floor
Edinburg, Texas 78539

Re: Cause No. C-5149-14-H
Pharr San Juan Alamo Indepena'ent School District v. Texas Descon, L.P.,
Descon 4S, LLC and ERO International, LLP d/b/a ERO Architects
In the 389th Judicial District Court, Hidalgo, Texas

Dear Ms. Hinojosa:

I am requesting that the following citations be issued and served by the Hidalgo County
Sherriffs office.

1. McAllen Carpet & lnteriors, L.P., is a limited partnership which may be served
with process through its registered agent, GJ Reyna, at 1200 E. Jasmin Avenue,
McAllen, Texas 78501.

2. Chacho’s Recycling is an unincorporated business association located in Hidalgo
County, Texas. Defendant Chacho’s Recycling is being sued in its common or
assumed name pursuant to TEX. R. ClV. P. 28. Defendant Chacho’s Recycling can
be served with process through its owner/authorized representative, Josh
Hammer, at Route 31, Box 133 H-2, Pharr, Texas 78577.

3. VCI Builders, Inc. is a Texas corporation which may be served with process
through its registered agent, Jose Luis Arredondo, at 217 W. Nolana, Suite 24,
McAllen, Texas 78504.

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P’Ellq§t 49 oli; §i§ed

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. Hida|go County District C|erks
Aprll 6, 2015 Reviewed By: C|audia Rodriguez

Page 2

Thank you for your attention to this matter and please call at your earliest convenience

with any questions or comments
E Yours very truly,%p/w/l)

Stephanie G. Weiss

 

 

Legal Assistant
/sgw
c: Jesus Ramirez VIA F/\CS|M|LE (956) 502-5007
Attorney at Law
700 Veterans Blvd., Suite B
San Juan, Texas 78589
David P. Benjamin VIA FAL.‘SIMI|_.E (210] 88 | »0668

Benjamin, Vana, Martinez & Biggs, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213

Sara Whittington Ma VIA FAcsn\/HLE (512) 708 0519
Allensworth & Porter, LLP

100 N. Congress Avenue, Suite 100

Austin, Texas 78701

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 50 of 85

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Hidalgo County District C|erks
Reviewed By: Prisci||a Rivas

CAUSE NO. C-5149-14-H
PHARR SAN JUAN ALAMO IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT
Plal'ntl`ff
VS. 389TH JUDICIAL DISTRICT
TEXAS DESCON, L.P., DESCON 4S,
L.L.C. and ERO INTERNATIONAL, L.L.P.
D/BA ERO ARCHITECTS
Plal`ntz'ff

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HIDALGO COUNTY, TEXAS
DEFENDANTS’ THIRD-PARTY PETITION
COME NOW Defendants, Texas Descon, L.P. and Descon 4S, L.L.C. (“Defendants"), in
the above-styled and numbered cause, and files this Third-Party Petition in accordance with
Texas Rule of Civil Procedure 38 and would respectfully show unto the Court the following:

1. Defendants file this Third-Party Petition against the following Third-Party

Defendants:
a. McAllen Carpet & Interiors, L.P., is a limited partnership which may be served
with process through its registered agent, GJ Reyna, at 1200 E. Jasmin Avenue,
McAllen, Texas 78501, or anywhere else he may be found.
b. Chacho’s Recycling is an unincorporated business association located in Hidalgo

County, Texas. Defendant Chacho’s Recycling is being sued in its common or
assumed name pursuant to TEX. R. CIV. P. 28. Defendant Chacho’s Recycling can
be served with process through its owner/authorized representative, Josh
Hammer, at Route 31, Box 133 H-2, Pharr, Texas 78577, or anywhere else he

may be found.

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Hida|go County District C|erks
Reviewed By: Prisci||a Rlvas

c. VCI Builders, lnc. is a Texas corporation which may be served with process
through its registered agent, Jose Luis Arredondo, at 217 W. Nolana, Suite 24,
McAllen, Texas 78504, or anywhere else he may be found.

2. Venue is proper in Hidalgo County, Texas pursuant to Sections 15.002 and
15.062 of the Texas Civil Practice and Remedies Code.

3. Although Defendants are unaware of what damages it will incur, if any.
However, for purposes of pleading under Rule 47 of the Texas Rules of Civil Procedure,
Defendants seeks monetary relief over $200,000 but not more than $1,000,000. Damages sought
are within the jurisdictional limits of the Court,

4. Plaintiff, Pharr San Juan Alamo Independent School District (“PSJA”), filed suit
against Defendants alleging breach of contract, negligence, negligent misrepresentation, and
gross negligence against Defendants in connection with Defendants' work on PSJA’s Memorial
Middle School campus (the “Project”). PSJA alleges that Defendants' caused damage during the
demolition phase and improperly installed flooring.

5. Defendants contracted with McAllen Carpet & Interiors, L.P. to provide flooring
of the existing structures at the Project site.

6. Defendants deny and continue to deny PSJA’s allegations related to the flooring.
However, in the unlikely event Defendants are found held liable for and of PSJA’s alleged
damages, Defendants contend that such damages were proximately caused by McAllen Carpet &
Interiors, L.P.

7. Further, Defendants contracted with Chacho’s Recycling and VCI Builders, lnc.

to provide demolition of the existing structures at the Proj ect site.

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 52 of 85
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Reviewed By: Prisci||a Rivas

8. Defendants deny and continue to deny PSJA’s allegations related to the
demolition. However, in the unlikely event Defendants are found held liable for and of PSJA’s
alleged damages, Defendants contend that such damages were proximately caused by

9. Defendants incorporates by reference each of the factual allegations recited in the
preceding paragraphs. There are valid, enforceable contracts between Defendants and the Third
Party Defendants. In the unlikely event that Defendants are found to be liable to PSJA,
Defendants assert that Third Party Defendants materially breached the contracts with Defendants
by their acts and omissions, resulting in damages.

10. In the unlikely event that Defendants are found to be liable to PSJA, Defendants
assert that the Third Party Defendants are liable to it for contribution for any damages owed or
paid by Defendants to PSJA. Specifically, Defendants assert that it has not caused damages to
PSJA, but if judgment is rendered that any damages were proximately caused by Defendants,
then Defendants asserts that such damages were caused by the acts and omissions of the Third
Party Defendants. Therefore, Defendants request that any damages awarded against it be
reimbursed by the Third Party Defendants in this action in accordance with Chapter 33 of the
Texas Civil Practice and Remedies Code.

ll. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendants request
that Third Party Defendants disclose, within 50 days of service of this request, the information
and material described in Rule 194.2(a)-(l).

WHEREFORE, PREMISES CONSIDERED, Defendants Texas Descon, L.P. and
Descon 4S, L.L.C. request judgment and relief from the Third Party Defendants, McAllen Carpet
& Interiors, L.P., Chacho’s Recycling and VCI Builders, Inc. for the above causes of action and

for such other relief to which Defendants may be justly entitled in law and in equity.

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 53 of 85
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Reviewed By: Prisci||a Rivas

Respectfully submitted,

THE HUDGINS LAW FIRM
A PRoFEssIoNAL CoRPoRATIoN

By: /s/ Spencer Edwards
Spencer Edwards
State Bar Number 90001513
st‘dwa:'d:»'(_:`rl'|iud;;ins-|;lw,com
24 Greenway Plaza, Suite 2000
Houston, Texas 77046
Telephone (713) 623-2550
Facsimile (713) 623-2793

ATToRNEY FoR DEFENDANTS TEXAS
DESCON, LP AND DESCON, 4S, L.L.C.

CE`RTI`FICATE OF SERVICE

I certify that the foregoing Defendants' Third Party Petition was served on the following

counsel:

Jesus Ramirez

Attorney at Law

700 Veterans Blvd., Suite B
San Juan, Texas 78589

David P. Benjamin

Benjamin, Vana, Martinez & Biggs, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213

Sara Whittington May

Allensworth & Porter, LLP

100 N. Congress Avenue, Suite 100
Austin, Texas 78701

via e-filing on the 30th of March, 2015 and via facsimile on the 3lst day of March 2015 .

/s/ Spencer Edwards
Spencer Edwards

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 54 of 85

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5149- l4-I"I

PHARR SAN JUAN ALAl\/I,O
INDEPENDENT SCHOOL DISTRICT

VS.

TEXAS DESCON, LP, DESCON 4S, LLC

AND ERO TNTERNATIONAL, LLP D/B/A

ERO ARCHITECTS

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§ lN THE DISTRICT COURT oF
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§ HlDALGo COUNTY, TEXAS
§
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§ 339THJUD1C1AL DisTRICT
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On this date, carrie on for consideration, Defendants’ l\/lotion to Substitute Counsel. After

due consideration, the Court is ofthe opinion that it should be GRANTED. lt is, therefore,

ORDERED that Spencer Edwards of The leludgins Law Firm, A Professional

Corporation, 24 Greenway Plaza, Suite 2000, Houston, Texas 77046, is hereby designated as

attorney in charge for Defendants Texas Descon, LP and Descon 4S, LLC as set forth in TEX. R.

Clv. P. 8.

Jesus Ramirez

Attorney at Law

700 Veterans Blvd., Suite B
San Juan, Texas 78589

 

Sara Whittington May

Allensworth & Porter, LLP

l00 N. Congress Avenue, Suite 100
Austin, Texas 78701
swmr`¢il.a_z_l_pla\-\-'.eom

Spencer Edwards

The Hudgins Law Firm

24 Greenway Plaza, Suite 2000
Housto'n, Texas 77046
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SIGNED this day of f g
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" David P. Benjamin
Benjamin, Vana, l\/Iartinez & Briggs, LLP
216] NW Military Highway, Suite l ll
San Antonio, Texas 78213
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Stephanie L. O'Rourke
Cokinos, Bosien & Young
10999 West IH-lO, Suite 800
San Antonio, Texas 78230
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Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 55 of 85

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5l49-14-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

VS.
TEXAS DESCON, LP, DESCON 4S, LLC

AND ERO INTERNATIONAL, LLP D/B/A
ERO ARCHITECTS

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IN THE DISTRICT COURT OF

HIDALGO COUNTY, TEXAS

389TH JUDICIAL DISTRICT

MOTION TO SUBSTITUTE COUNSEL FOR
DEFENFDANTS TEXAS DESCON, LP AND DESC()N 4S. LLC

COME NOW Defendants Texas Descon, LP and Descon 4S, LLC and move the Court to

substitute Spencer Edwards of The Hudgins Law Firm, A Professional Corporation, 24

Greenway Plaza, Suite 2000, Houston, Texas 77046, as their attorney of record in lieu of

Stephanie L. O‘Rourke, Cokinos, Bosien & Young, 10999 West lH-lO, Suite 800, San Antonio,

Texas 78230, counsel of record for Defendants Texas Descon, LP and Descon 4S, LLC. This

Motion is not sought for delay and no parties will be prejudiced by this substitution

Respectfully submitted,

CoKiNos, BosiEN & YoUNG

/s/ Stephanie L. O’Roul'ke
Stephanie L. O’Rourke

State Bar Number 15 3 10800
lawtcom
10999 West lH-lO, Suite 800
San Antonio, Texas 78230
Telephone (210) 293-8700
Facsimile (210) 293-8733

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WITHDRAwlNG ATToRNEY FoR
DEFENDANTS TEXAS DESCON, LP AND
DEsCoN 4S, LLC

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

THE HUDGINS LAW FIRM
A PRoFEssloNAL CoRPoRATloN

/s/ Spencer Edwards

Spencer Edwards

State Bar Number 90001513
setlw;-n‘ds{r`i_?;liuduins~lnw.uum
24 Greenway Plaza, Suite 2000
Houston, Texas 77046
Telephone (713) 623-2550
Facsimile (713) 623-2793

SUBSTITUTING ATToRNEY FoR
DEFENDANTS TEXAS DESCON, LP AND
DEsCoN 4S, LLC

CERTIFICATE OF CONFERENCE

I certify that I have conferred with counsel for Plaintiff, Defendant ERO lnternational,
LLP d/b/ a ERO Architects, Third Party Defendant Frank Lam & Associates, Inc., and Third Party
Defendant Frank S. Lam, P.E., and the foregoing parties are unopposed to the relief sought by

way of this motion.

/s/ Spencer Edwards
Spencer Edwards

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 57 of 85

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CERT|F|CATE OF S`ERV`ICE

I certify that the foregoing Motion to Substitute Counsel for Defendants Texas Descon,
LP and Descon 4S, LLC was served on the following counsel:

Jesus Ramirez

Attorney at Law

700 Veterans Blvd., Suite B
San Juan, Texas 78589

David P. Benjamin

Benjamin, Vana, Martinez & Biggs, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213

Sara Whittington May

Allensworth & Porter, LLP

100 N. Congress Avenue, Suite 100
Austin, Texas 78701

Stephanie L. O'Rourke
Cokinos, Bosien & Young
10999 West IH-10, Suite 800
San Antonio, Texas 78230

via facsimile on the 10th day of March 2015 ,

/s/ Spencer Edwards
Spencer Edwards

 

Case 7:15-cv-OO465 Document 1-11 Filed m TXSD on 11/06/15 Palge 58 of 85
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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintijj’

IN THE DISTRICT COURT

vs.
HIDALGO COUNTY, TEXAS
TEXAS DESCON, L.P., DESCON 4S,
L.L.C. and ERO INTERNATIONAL,
L.L.P. d/b/a ERO ARCHITECTS

Defendants 389th JUDICIAL DISTRICT

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PLAINTIFF,_ PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’
CERTI`FICATE OF WRITTEN DISCOVERY

  

      

l certify that on the 26th day of February, 2015, I served the following discovery
instruments on opposing counsel of record by via certified mail, return receipt requested, pursuant
to the Tean Rules of Civil Procedure:

l. Plaintift’s Responses to Request for Disclosure from Defendant Frank Lam &
Associates, Inc.’s Request for Disclosure;

2. Plaintiff’s Second Supplemental Responses to Request for Disclosure from
Defendant ERO International, LLP d/b/a ERO Architects;

3. Plaintift’s Second Supplemental Responses to Request for Disclosure from
Defendant Texas Descon, LP; and

4. Plaintiff's Second Supplemental Responses to Request for Disclosure from
Defendant Descon 4S, LLC.

Plaintiff Pharr San Juan Independent School District’s Certificate of Written Discovery Page 1 of 3

 

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2/26/2015 1:30:51 P|\/|
Hida|go County District C|erks
Reviewed By: Claudia Rodr|guez

- Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 59 gm §§igd

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Tean 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

By: 4/\-~
JESUS RAMIR_EZ
sBN 16501950
RoBERT sCHELL
sBN 24007992

ATTOR.NEYS FOR DEFENDANT

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Pharr San Juan Independent School District’s Certiticate of Written Discovery Page 2 of 3

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 PSQ&€O f[§|§d

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

CERTIFICATE OF SERVICE

I, JESUS RAMIREZ, certify that on the 26th day of February, 2015, a true and correct
copy of the foregoing PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL
DISTRICT’S CERTIFICATE OF WRITTEN DISCOVERY was served via certified U.S. Mail,
return receipt requested on the following counsel of record:

Via Certified Mai£,

Retum Receipt Reaues!ed No. 7014 1826 0001 6490 33 72
M Email: mbc@r£lylaw.com

Matthew B. Cano

ALLENSWORTH AND PORTER, L.L.P.

100 Congress Avenue, Suite 700

Austin, Texas 78701

Via Certified MaH,

Ret.um Reccigt Reguested No. 7014 1820 0001 6490 3389
grid Em_qg: sedwards@!zud,¢::'ns-law.com

Spencer Edwards

THE HUDGINS LAW FIRM

A PROFESSIONAL CORPORATION

24 Greenway Plaza, Suite 2000

Houston, Texas 77046

Via Cer££{led M'rlrz'¢'ll

Retum Rece§p¢ Reg{uesfe§! No. 7014 1820 0()()1 6490 3396
and EmaH: somurk@gbzlaw.com

Stephanie O’Rou'rke

COKINOS, BOSIEN & YOUNG

10999 IH-10 West, Suite 800

San Antonio, Texas 78230

Via Certifced Mail,
Retum Recg_ipt Reguested No. 7014 1820 0601 6490 3402

_¢_md Email':_¢_Ibeniamin@!)en{awsa.com

David P. Benj amin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite 111

San Antonio, Tean 7 8213

 

4\/

JEsUs `RAMIREZ

PlaintiffPharr San Juan Independent School District’s Certificate of Written Discovery - Page 3 of 3

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P<'éilqe 61 1°[8,|5d
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2/13/2015 4:07:37 P|\/|
Hida|go County District C|erks
Reviewed By: Yesica Garza

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO IN THE DISTRICT COURT

INDEPENDENT SCHOOL DISTRICT
Plaintiff

vs. 389th JUDICIAL DISTRICT

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. AND ERO INTERNATIONAL,

LLP D/B/A ERO ARCHITECTS
Defendants

Cm&m€m@mfm€m€o§¢m€m@

HIDALGO COUNTY, TEXAS
ORIGINAL ANSWER OF FRANK LA`M & ASSOCIATES. INC.
AND FRANK S. LAM` P.E.

Third-Party Defendants Frank Lam & Associates, Inc. and Frank S. Lam, P.E.
(collectively “Lam”) file this their original answer to ERO International, L.L.P. d/b/a
ERO Architects’ (“ERO”) Third-Party Petition and would show this Honorable Court the
following:

I. GENERAL DENIAL

1. Third-Party Defendants Frank Lam & Associates, Inc. and Frank S. Lam,
P.E. generally deny the allegations made by Third-Party Plaintiff ERO in its Third-Party
Petition.

II. VERIFIED DENIAL

2. Frank S. Lam, P.E., specifically denies that he entered into any contractual
relationship with Third-Party Plaintiff ERO. To the contrary, Third-Party Plaintiff ERO
entered into a contract with Frank Lam & Associates, Inc., to perform design services

with regard to the Proj ect. As such, Frank S. Lam, P.E. denies that he is liable in the

Original Answer of Frank Lam & Associates, Inc. and Frank S. Lam, P.E. Page l

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 PSQ§F€Z f[§|§d

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Reviewed By: Yesica Garza

capacity in which he has been sued, as set forth in his Affidavit, which is attached hereto
and incorporated as Exhibit l.
III. AFFIRMATIVE DEFENSES

3. Third-Party Plaintiff ERO’s contribution claim is barred by the Economic
Loss Rule.

4. Third-Party Defendants Lam further state that the acts or omissions of
parties not under the control of Frank Lam & Associates, Inc. may have caused, or
contributed to cause, the damages alleged by Third-Party Plaintiff. Any submission of
this case to the jury Should include a submission for comparative fault under Chapters 32
and 33 of the Texas Civil Practice and Remedies Code.

II. SPECIAL EXCEPTIONS

5. Lam specially excepts to the use of the term “Engineers” throughout Third-
Party Plaintiff’s petition. As an example, Third-Party Plaintiff alleges in Paragraph V,
section (a) that “Engineers materially breached the contract with ERO.” The contracts
between ERO and Frank Lam & Associates, Inc. do not create any contractual agreement
on behalf of Frank S. Lam, P.E., individually. Third-Party Plaintiff should be required to
replead, as the constant use of the term “Engineers” without identifying which one, or
both, of the third-party defendants is alleged to have committed an act, is vague and fails
to give Lam fair notice of which allegations are alleged to have been committed by each.

WHEREFORE, PREMISES CONSIDERED, Third-Party Defendants Frank Lam

& Associates, Inc. and Frank S. Lam, P.E. pray that upon final hearing of this cause that

Original Answer of Frank Lam & Associates, Inc. and Frank S. Lam, P.E. Page 2

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 PE)]QSFSS f§|§d

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Reviewed By: Yesica Garza

Third-Party Plaintiff ERO takes nothing and that it recover its costs, and such other and

further relief to which it may be entitled.

Respectfully submitted,

ALLENS WOR TH AND POR TER, L.L.P.

100 Congress Avenue, Suite 700
Austin, Texas 78701

(512) 708-1250 Telephone
(512) 708-0519 Facsimile

By:

 

Matthew B. Cano l
State Bar No. 03757050
mbc@aaplaw.com

S.W. “Whitney” May
State Bar No. 24074668
swm@aaplaw.com

A TTORNEYS FOR THIRD-PAR TY
DEFENDANTS FRANK S. LAM P.E. AND
FRANK LAM & ASSOCIA TES, INC.

Original Answer of Frank Lam & Associates, Inc. and Frank S. Lam, P.E.

Page 3

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 qugroq§&aq; §§d

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Hida|go County District C|erks
Reviewed By: Yesica Garza

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document has been
sent via e-mail on the 13th day of February 2015, to the following:

Jesus Ramirez

Robert Schell

The J. Ramirez Law Firm
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589
mmircz.hooktc:.-'.Lunail.cr_)ln
robert sulie-ll(`c':.`€hulmtlflaum

Brian D. Metcalf

Stephanie O’Rourke
Cokinos, Bosien & Young
10999 IH 10 West, Suite 800
San Antonio, Texas 78230
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David P. Benjamin
Christopher D. McMillan
2161 NW Military Highway, Suite l11
San Antonio, Texas 78213
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sr ,"J‘, , j l _._-`

S.W. “Whitney” May

 

Original Answer of Frank Lam & Associates, Inc. and Frank S. Lam, P.E. Page 4

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 65 of 85

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Hida|go County District C|erks
Reviewed By: Yesica Garza

CAUSE No. c-5149~14~H

PHARR sAN JUAN ALAMo IN THE DISTRICT COURT

INDEPENDENT scHooL DISTRICT
Plaimijyf

vs. 389th JUDICIAL DISTRICT

TEXAS DESCON, L.P., DEsCoN 4S,

L.L.c. AND ERo INTERNATIoNAL,

LLP D/B/A ERo ARCHITECTS
Defendants

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HIDALGO COUNTY, TEXAS

AFFIDAVIT OF FRANK S. LAM. P.E.

STATE OF TEXAS §

COUNTY OF TRAVIS §
Before me, the undersigned notary, on this day personally appeared Frank Lam, a
person whose identity is known to me. Afcer l administered an oath to him and upon his

oath he said:

1. “My name is Frank S. Lam, P.E. I am the President and Director of Frank

Lam & Associates, Inc. I am over 18 years of age, of sound mind, and capable

of making this affidavit The facts stated in this affidavit are within my

personal knowledge and are true and correct. 5

2. “ERO International, LLP d/b/a ERO Architects has improperly sued me in my

individual capacity. I am not liable in the capacity in which I have been sued.

All of the design services provided to ERO International, LLP d/b/a ERO

Architects Were performed by Frank Lam & Associates, Inc. under the

contracts between Frank Lam & Associates, Inc. and ERO International, LLP

Affidavit of Frank S. Lam, P.E. Page l

 

Case 7:15-C\/- -00465 Document 1- 11 Filed in TXSD on 11/06/15 Page 66 of 85

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Hida|go County District C|erks
Reviewed By: Yesica Garza

d/b/a ERO Architects. ERO International, LLP d/b/a ERO Architects issued
all of its payments for services performed under the contracts to Frank Lam &
Associates, Inc. Additionally, all of my interactions and communications with
ERO International, LLP d/b/a ERO Architects were in my capacity as a

President and Director of Frank Lam & Associates, Inc., and not in my

individual capacity.”
FURTHER AFFIANT SAYETH NOT.

FRANK LAM & ASSOCIATES, INC,

(. l/¢i/Vl/_'@l/“ f g _
l"ranl< S. Lam, P..E, Presi ent and Director

SUBSCRIBED AND SWORN TO BEFORE ME by Frank S. Lam on the Qii' day
of February 2015, to certify which witness my hand and official seal.

/lhna§»w

Notai y l:'ublic, State of Teiigas

MlLLlE Slu VU CHU
My Comm|sslon Exp|rea

My Commission Expires:
March 9. 2015

 

Affidavit of Frank S. Lam, P.E. Page 2

 

 

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

cAusE No. c-5149.14-n
PHARR sAN JUAN ALAMo `

§ minus DISTRICT coUR'r
lNl)EPENnnN'r scuooL msch §
Plalnlllf §
§
vs. § `
§ mnALeo couN'rY, TEXAS
TEXAS oescoN,L.P.,nEscoNas, § '
L.L.c. and reno mmnm'rromr,, §
L.L.P. d/b/a lino mcnmccrs §
qumdams § asmlnmrcrAL DISTRICT
c c s me omni

BE IT REMEBMERED that on the 23rd day of Septembcr, 2014 a Deoket Control
Conferenee was held lo the above entitled end numbered pause Appearanees were made by
counsel ofreoord and/er their designated representatives

The following .was ordered by the Court as per agreement of the parties’ Attornoys of
Reeord:

A. The ease is set for jury selection and trial on October 19, 2015 at 9:00 a.m.

B The case is set for Aeneuneements and Flnal Pre-Triui on Oetohe\' 15, 2015 at 9: 00 a.m.`
C. The deadline 10 file Motlons in leino is 00tober15,`2015 at 8:30 a.m.

D

The deadline to file any Dauberr/Robinson motion, challenge or objection is Oetober 16,
2015 at 8: 30 a m.

The deadline to amend pleadings without leave of the court is October 12, 2015. _

.F. l ~A Jolnt Finai Pretriai Order approved as to form'by all parties must be fried by Octobe!'
1, 2015.

G. Mediation shall be conducted ne later than Septemher 18, 2018.

H. The deadline for completion of all disoovery, including supplementation, is September
10, 2015.

 

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Reviewed By: Claudia Rodriguez

I. headline for designation er experts end note 192.4@ information for panel seeking
affirmative relief other than contribution claims or third party claims is Juoc 19, 2015.

J. Deadline fec designation of experts and Rule 192.4(£) information for all other parties ls
Juiy 1’1,2015l

‘ K. The deadline for joinder of additional parties without leave of the court is March 13,
2015. Ali other deadlines are pureuantto the Texas Ruies of Civii Procedure

L. The parties may amend deedUnes by agreement, except trial date, which may only be
passed by a joint continuance motion of ali parties and approved by Order of the Court.
At the commencement of triel, the parties must submit to the court coordinator their
respective proposed charge of the court on computer disc fonnotted in WordPerl’eot or
Microeoft Word.' Baoh side shall serve their requested special issues and live pleadings at
the time oi’Pinal Protrial or immediawa prior to commencement oftrlei.

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Hida|go County District C|erks
Reviewed By: Claudia Roclrigueq

Approvedi

Jceus Rei'niloz

THE J. RAMIREZ LAW FIRM

Attomeys et cht

Ebony Park, Suite B

700 North Veterens Boulevard

San Juan, Texas 78589

Counsel for Plaintiffth San Juan Alamo I.S.D.

 

BENJAMIN, V A, MART]NEZ&BIGGS,LLP
2161 ttn'yHighwey, Suite 111 '
Sen

   

 

o wife
COI{TN S, BOSIEN & YOUNG
10999 lH-IO West, Suite 800
San 'Antonio, Tean 78230
' Counael forTexas Descon, L. P. end Descon 4S, L L. C

The clerk will notify all parties ofrecond.

eo: David P. Benjem|n, BENJM, VANA. MARTINBZ & EIGOB, LT.J>, 2161 NW Military Highway, Suite lli,
SmAntoele, 'l`etnte ’liillfi, Bmoil: MM_MML

Stephanie 0' Routko, COKJNOS BOS\'BN & YOUNG 10999 iH- 10 West, San Antonlo, Texet 78230,

Bma l

Jcsus naming THBJ. RAMJRBZ LAW FIRM. Bbenyi’srk, SulieB,‘IooNcnh Veternns Boulevard San Juan, mar 70509,
Bmaii: mathemnli.som

 

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Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 70 of 85

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2/3/2015 11:46:44 AN|

Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. lf
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
Were served with this citation and petition, a dcfaultjudgment may be taken against you.

FRANK LAM & ASSOCIATES, INC

BY SERVING REGISTERED AGENT: FRANK LAM
508 W. 16TH ST

AUSTIN TX 78701

OR WHEREVER ELSE HE MAY BE FOUND

You are hereby commanded to appear by filing a written answer to the ERO
INTERNATIONAL, LLP DIB)‘AF ERO ARCHITECTS’ THIRD-PARTY
PETITION on or before 10:00 o’clock a.m, on the Monday next after the expiration of
twenty (20) days after the date of service hereof, before the Honorable Letty Lopez,
389th District Court of Hidalgo County, Texas at the Courthouse at 100 North Closner,
Edinburg, Texas 78539.

Said petition Was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation, The f`lle number and style of said suit being C-5149-l4-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO ]NTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS

Said Petition was filed in said court by: DAVID BENJAMIN
2161 NW Military Highway, Suite 111 SAN ANTONIO TEXAS 78213

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 22nd day of January, 2015.

LAURA HINO.]OSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

tensch GARZA, DEPUTY cLERK

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 71 of 85

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2/3/2015 11:46:44 AM

Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of . 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to-wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE

And not executed as to the defendant, the

diligence used in iinding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

ln accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
_ and the address is .and I
declare under penalty of perjury that the foregoing is true and correct.

 

EXECUTED in County, State of Texas, on the __ day of ___,
201__. AFFIDAVIT

ATTACHED
Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 72 of 85

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2/3/2015 11:46:44 A|\/|

Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

CAUSE NO. C-5 l 49-14-H

STYLE: Pharr San Juan Alamo Independent School District V. Texas Descon. I.,.P..
Descon 4S, L.L.C., Ero Intematienal. L.L.P. Dfof-\ Ero Arehitects

COURT: 389th District Court of Hida|go County1 Texas
AFFIDAVIT
Came to my hand: l / § / M at w o’clock B.M.
Z(_ Citation and Ero International, LLP d/b/a Ero Architects’ Third-Party Petition
Executed by me on: l / 2_6 / Mat t1_:_50 o’clock B.M.

Executed at 508 West 16111 Street, Austin. Texas 78701, within the county of Travis, by
delivering to Frank Lam & Associates. Inc., bv serving registered agent Frank Lam in
person, a true copy of the above specified civil process having first endorsed on such
copy the date of delivery.

I am over the age of 18; and I am not a party to nor interested in the outcome of the above

styled and numbered suit. f ll ____
Authorized Person: di

Printed Name: civ ;< fig H\,.

SCH#: 5003 Expiration: y . 352 - 11 Q/,t/
Magee Litigation Support

20770 US 281 North, #108-177

San Antonio, TX 78258

(830) 980-2500

State of Texas }
VERIFICATION

Before me, a notary public, on this day personally appeared the above name person, known to me to be the
person whose name is subscribed to the foregoing document and, being by me first duly swom, declared

that the statements/ facts therein contained are within hi_rLr persona knowledge to be tr.uc and correct.
Given under my hand and seal of office on this the z?_ day of Z=l S.
ANTHeNY Fou\.o\e

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Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 73 of 85

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

C-5149-14-H
389TH DISTRICT COURT, I'IIDALGO COUNTY, TEXAS

CITATION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. It`
you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

FRANK S. LAM, P.E

508 W. 16TH ST

AUSTIN TX 78701

OR WHEREVER ELSE HE MAY BE FOUND

You are hereby commanded to appear by filing a written answer to the ERO
INTERNATIONAL, LLP D/B/A/ ERO ARCHITECTS’ THIRD-PARTY
PETITION on or before 10:00 o’clock a.m. on the Monday next after the expiration of
twenty (20) days after the date of service hereof, before the Honorable Letty Lopez,
389th District Court of Hidalgo County, Texas at the Courthouse at 100 North Closner,
Edinburg, Texas 78539.

Said petition was filed on the on this the 14th day of May, 2014 and a copy of same
accompanies this citation, The file number and style of said suit being C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHlTECTS

Said Petition Was filed in said court by: DAVID BENJAMIN
2161 NW Military Highway, Suite 111 SAN ANTONIO TEXAS 78213

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 22nd day of January, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, EX__AS

raisch GARZA, DEPUTY cLERK .'

 

 

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Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 74 of 85

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

 

C-5149-14-H
OFFICER’S RETURN
Came to hand on of . 201 at o’clock .m. and
executed in County, Texas by delivering to each of the within named

Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
(petition) at the following times and places, to~wit:

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE

And not executed as to the defendant, the

diligence used in finding said defendant, being: and the

cause of failure to execute this process is: and the

information received as to the whereabouts of said defendant, being:
I actually and necessarily traveled miles in the

 

 

service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving copy(s) $
miles .................... $

 

DEPUTY
COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT

In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is ,and I
declare under penalty of perjury that the foregoing is true and correct.

 

EXECUTED in County, State of Texas, on the day of ,
201_.

AFFIDAVIT

ATTACHED
Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 Page 75 of 85

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2/3/2015 11:44:20 AM

Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

CAUSE NO. C-5149-14-H

STYLE: Pharr San Juan Alanio independent School District V. Tean Descon L.P.
Descon 48. I..L.C., Et‘o lnternational‘ L.L.P. DFB:’A Ero Architects

 

COURT: 389th District Court of Hidalgo County1 Texas
AFFIDAVIT
Came to my hand: l / 2_3 / ZLS_ at w o’clock _R.M.
§ Citation and Ero International, LLP d/b/a Ero Architects’ Third-Party Petition
Executed by me on: l / 2_6 / 2015 at l:l o’clock B.M.

Executed at 508 West 16th Street` Austin, Texas 78701, within the county of Travis, by
delivering to Frank Lam in person, a true copy of` the above specified civil process having
first endorsed on such copy the date of delivery.

 

I arn over the age of 18; and l am not a party to nor interested in the outcome of the above

styled and numbered suit. M_
Authorized Person:

Printed Name: aim ,< nor -i/i\€

SCH#: GQQZ Expiration: §§ l __§‘Q -‘ g:.)/§
Magee Litigation Support

20770 US 281 North, #108-177

San Antonio, TX 7 8258

(830) 980-2500

State of Texas }
VERIFICATION

Before me, a notary public, on this day personally appeared the above name person, known to me to be the
person whose name is subscribed to the foregoing document and, being by me first duly swom, declared
that the statements/ facts therein contained are within his/her perez knowledge to be true and correct.
Given under my hand and seal of office on this the ZW\day of` W"~¢‘vr? , Zd>f$’.'

AN'IHONY FOULO
My commeak,n mize
Oo!ober 15, 2017

 
 
  

   
 

Notary Public Signatufe

  

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

CAUSE NO. C-5149-14-H
PHARR SAN JUAN ALAMO IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT
Plaintijj‘
VS. 3 89TH JUDICIAL DISTRICT
TEXAS DESCON, L.P., DESCON 4S,
L.L.C. and ERO INTERNATIONAL, L.L.P.
D/BA ERO ARCHITECTS
Plaintijj‘

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HIDALGO COUNTY, TEXAS
ERO INTERNATIONAL` LLP DfB/A/ ERO ARCHITECTS’ THIRD-PARTY PETITION
TO THE HONORABLE COURT:

NOW COMES Defendant, ERO lnternational, L.L.P. d/b/a ERO Architects (“ERO”),
Defendant in the above-styled and numbered cause, and files this Third-Party Petition in
accordance with Texas Rule of Civil Procedure 38 and would respectfully show unto the Court the
following:

I.
1. ERO files this Third-Party Petition against the following Third-Party Defendants:

a. Frank Lam & Associates, lnc., a Texas for-profit corporation, which may be served

with process through its registered agent, Frank Lam, 508 W. 16th St., Austin, Texas 78701

or wherever else he may be found; and

b. Frank S. Lam, P.E., a licensed professional engineer in the State of Texas who may

be served at 508 W. 16th St., Austin, Texas 78701 or wherever else he may be found.

II.
2. Venue is proper in Hidalgo County, Texas pursuant to Sections 15.002 and 15.062 of the

Texas Civil Practice and Remedies Code.

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Page l

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

III.
3. Although ERO is unaware of what damages it will incur, if any. However, for purposes of
pleading under Rule 47 of the Texas Ruies of Civil Procedure, ERO seeks monetary relief over
$200,000 but not more than $1,000,000. Damages sought are within the jurisdictional limits of
the Court.

IV.
4. Plaintiff, Pharr San Juan Alamo Independent School District (“PSJA”), filed suit against
ERO alleging breach of contract, negligence, negligent misrepresentation, and gross negligence
against ERO in connection with ERO’s work on PSJA’s Memorial Middle School campus (the
“Project”). PSJA alleges that ERO’s acts and/or omissions resulted in the “toppling of large
portions of the west wall and second story floor of the mail classroom building, the moisture
infiltration to the basement floor and the additional cost of completion of the textbook storage
facility and band hall.”
5. Specifically, PSJA alleges ERO failed to undertake a more thorough investigation of the
structural integrity and conditions of the facilities; failed to advise PSJA during the design phases
of the Project of ERO’s alleged lack of sufficient information to design and specify the Project;
failed to adequately inspect and test the structures; failed to require and review a submittal for
proper demolition means and methods; and failed to design improvements/ additions to the existing
structures which would have been appropriate and feasible.
6. ERO contracted with Frank Lam & Associates, Inc. and Frank S. Lam, P.E. (hereinafter
referred to together as the “Engineers”) to provide a structural engineering report including an

evaluation of the existing structures at the Project site, determine issues related to the renovations

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Page 2

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

of the existing buildings, and provide recommendations for the structural systems for the Project’s
renovations, additions and new construction
7. ERO denies and continues to deny PSJA’s allegations. However, in the unlikely event
ERO is found held liable for and of PSJA’s alleged damages, ERO contends that such damages
were proximately caused by the Engineers.

V.

a. Breaeh of Cnntrat'.t. ERO incorporates by reference each of the factual allegations
recited in the preceding paragraphs There is a valid, enforceable contract between ERO and the
Engineers. In the unlikely event that ERO is found to be liable to PSJA, ERO asserts the Engineers
materially breached the contract with ERO by its acts and omissions, resulting in damages.

b. Contribution. ln the unlikely event that ERO is found to be liable to PSJA, ERO
asserts that the Engineers are liable to it for contribution for any damages owed or paid by ERO to
PSJA. Specifically, ERO asserts that it has not caused damages to PSJA, but if judgment is
rendered that any damages were proximately caused by ERO, then ERO asserts that such damages
were caused by the acts and omissions of the Engineers. Therefore, ERO requests that any
damages awarded against it be reimbursed by the Engineers in this action in accordance with
Chapter 33 of the Texas Civil Practice and Remedies Code.

VI.

6. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, ERO requests that the

Engineers disclose, within 50 days of service of this request, the information and material

described in Rule l94.2(a)-(l).

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Page 3

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Reviewed By: Claudia Rodriguez

WHEREFORE, PREMISES CONSIDERED, ERO requests judgment and relief

from the Engineers for the above causes of action and for such other relief to which ERO may be

justly entitled in law and in equity.

Respectfully submitted,

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP

By: /s/ Christopher McMillan
David P. Benjamin
State Bar No. 02134375
Christopher D. McMillan
State Bar No. 24085467

2161 NW Military Highway, Suite 111
San Antonio, TX 78213

Telephone: (210) 881-0667
Facsimile: (210) 881-0668

E-Mail: dben`nmin r"tilien!nws:i.M
E-Mail: L'.mcntilian(`t".'.tbeuiawsa.coni
COUNSEL FOR DEFENDANT,
ERO INTERNATIONAL, L.L.P.
D/B/A ERO ARCHITECTS

C E R'l`IF]CA'l`E OF SERVICE

This is to certify that a true, full and correct copy of the above and foregoing has, this 14th
day of January 2015, been delivered per the Texas Rules of Civil Procedure to:

Jesus Ramirez

Robert Schell

The J. Ramirez Law Firm
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

Brian D. Metcalf

Cokinos, Bosien & Young
1099 IH 10 West, Suite 800
San Antonio, Texas 78230

/s/ Christopher McMillan
David P. Benjamin/Christopher D. McMillan

441-050
Page 4

 

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

CAUSE NO. C-5149-l4-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintiff

[N THE DISTRICT COURT

§
§
§
§
§
vs. §
§ HIDALGO COUNTY, TEXAS
TEXAS DESCON, L.P., DESCON 4S, §
L.L.C. and ERO INTERNATIONAL, §
L.L.P. d/b/a ERO ARCHITECTS §

Defendants §

389th JUDICIAL DISTRICT

 

I certify that on the 17th day of November, 2014, l served the following discovery
instruments on opposing counsel of record by via certified mail, return receipt requested, pursuant
to the Texas Rules of Civil Procedure:

1. PLAINTIFF’S FlRST SUPPLEMENTAL RESPONSES TO REQUEST FOR
DISCLOSURE FROM DEFENDANT TEXAS DESCON, L.P.;

2. PLAINTIFF’S FIRST SUPPLEMENTAL RESPONSES TO REQUEST FOR
DISCLOSURE FROM DEFENDANT DESCON 4S, LLC;

3. PLAINTIFF’S FIRST SUPPLEMENTAL RESPONSES TO REQUEST FOR
DISCLOSURE FROM DEFENDANT ERO INTERNATIONAL, LLP, d/b/a ERO
ARCHITECTS; and

4. PLAINTIFF’S FIRST SUPPLEMENTAL RESPONSES TO DEFENDANT’S
REQUEST FOR PRODUCTION TO PLAINTIFF.

Plaintiff Pharr San Juan Alamo Independent School District’s Certiticate of Written Discovery Page 1 of 3

 

Case 7:15-cv-OO465 Document 1-11 Filed in TXSD on 11/06/15 P§ce;jcer8l fl§|§d

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
san Juan, Texa's 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

By: ¢'4/L/_`
JEsUs RAanEZ
SBN 16501950
ROBERT sCHELL
SBN 24007992

ATTORNEYS FOR PLAINTIFF

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Fharr San Juan Alamo Independent School District’s Certificate of Written Discovery Page 2 of 3

 

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Hida|go County District C|erks '
Reviewed By: Claudia Rodriguez

CERTIFICATE OF SERVICE

I, JESUS RAMIREZ, certify that on the 17th day of Novernber, 2014, a true and
correct copy of the foregoing PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT
SCHOOL DISTRICT’S WRITTEN CERTIFICATE OF DISCOVERY was served via certified
U.S. Mail, return receipt requested and via Ernail on the following counsel of record:

Via Certified Mail,
Return Receipt Reguested No. 7014 1820 0001 6490 3013

and Email: sorenrke@cbylaw.com
Stephanie O’Rourke

COKINOS, BOSIEN & YOUNG
10999 IH-lO West, Suite 800
San Antonio, Texas 78230

V¢‘a Certified Mail,
Return Rec'et'pt‘ Reques!ed Nr). 7014 1320 0001 6490 3020

and Email: dbenfamin@§en!awsa. com
David P. Benjamin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213 '

csi/M-

JESUS RAMIREZ

Plaintiff Pharr San Juan Alamo Independent School District’s Certificate of Written Discovery Page 3 of 3

 

Case 7:15-cv-00465 Document 1-11 Filed in TXSD on 11/06/15 Phang 83 fl§|§d

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Hida|go County District C|erks
Reviewed By: Yesica Garza

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintiff

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

fmfm@fm@fm@fm@!mfm

3 89th JUDICIAL DISTRICT

PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRI
CERTIFICATE OF WRITTEN DISCOVERY

 

        

 

C

l certify that on the 20th day of October, 2014, l served the following discovery instruments
on opposing counsel of record by via certified mail, return receipt requested, pursuant to the Texas
Ruies of Civil Procedure:

 

PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
COMBINED FIRST SET OF INTERROGATORIES, FIRST REQUEST FOR
PRODUCTION AND FIRST REQUESTS FOR ADMISSION TO DEFENDANT ERO
INTERNATIONAL, L.L.P. D/B/A ERO ARCHITECTS

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

By: `/{" M M
JESUS RAMIREZ
SBN 1650195 0
ROBERT SCHELL
SBN 24007992

 

ATTORNEYS FOR PLAINTIFF
PHARR SAN .TUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiffth San Juan Alamo Independent School District’s Certificate of Written Discovery Page 1 of 2

 

Case 7:15-cv-00465 Document 1-11 Filed in TXSD on 11/06/15 ngcem§%a j|§||§d

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Hida|go County District C|erks
Reviewed By: Yesica Garza

CERTIFICATE OF SERVICE

I, ROBERT SCHELL, certify that on the 20th day of October, 2014, a true and correct copy
of the foregoing Plaintiff Pharr San Juan Alamo Independent School District’s Written Certificate
of Discovery Was served via certified U.S. Mail, return receipt requested and via Email on the
following counsel of record:

Vie Certified Maif,

Remrn Rece§pt Reque_sr£d No. 7014 1820 000] 6490 3603
gmi Emg¢`l.' dbergjgm£n@ben!awsa.cm_n

David P. Benjamin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP

2161 NW Military Highway, Suite 111

San Antonio, Tean 78213

Via Certified l\/]laill

Return Reccint Retluested No. 7014 1820 0001 6490 2610
and Email: sorourke§agcbylaw.eom

Stephanie O’Rourke

COKINOS, BOSIEN & YOUNG

10999IH-10 West, Suite 800

San Antonio, Tean 78230

,M

ROBERT SCHELL

 

Plaintiff Pharr San Juan Alamo Independent School District’s Certificate of Written Discovery Page 2 of 2

Case 7:15-cv-00465 Document 1-11 Filed in TXSD on 11/06/15 Page 85 of 85

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Hida|go County District C|erks
Reviewed By: Claudia Rodriguez

CAUSE NO. C-5149~14-H

PHARR - SAN JUAN - ALAMO § IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT §
§
VS. § 3 89TH JUDIClAL DISTRICT COURT
§
TEXAS DESCON, L.P., DESCON 4S, L.L.C. § HIDALGO COUNTY, TEXAS
AND ERO INTERNATIONAL, L.L.P.
DBA ERO ARCHITECTS
DOCKET CONTROL ORDER

BE IT REMEMBERED that on this 23rd day of September, 2014 a Docket Control Conference was
held in the above entitled and numbered cause. Appearances were made by Atty jesus Ramirez.'_: Atty
Stephanie O‘Rourke and Atlv David P. Beuiamin.

 

The following was ordered by the Court:
A. Final Pre-Trial Conference is set for the 15th day of October, 2015, at 9:00 a.m.

*ALL MOTIONS lN LIMINE SHALL BE FILED AND HEARD AT FlNAL PRE-TRIAL*
*EACH SIDE SHALL SUBMIT THEIR REQUESTED SPECIAL ISSUES AS WELL AS A
COPY OF THEIR LIVE PLEADlNGS ON FINAL PRE-TRlAL DATE OR IMMEDIATELY
PRIOR TO TRML*

B. The deadline for completion of all discovery including supplementation are pursuant to the
Texas Rules Of Civil Procedure.

C. The deadline for supplemental and amended pleading are pursuant to the Texas Rules Of Civil
Procedure,

D. The deadline for joinder of additional parties are pursuant to the Texas Rules Of Civil
Procedure.

E. Mediation is hereby ordered to be conducted no later than thirty days before trial date. This
is Mandatory.

F. Joint Pre-Trial Order approved as to form by all attorneys shall be filed 14 days before the
final pretrial conference scheduled by the court, The Joint Pretrial Order shall contain the
information set out in Appendix A. See Attached Order.

G. The case is set for Trial on the 19th day of October, 2015 at 9:00 a.m.

H. The case is estimated to last One §1[ week.

